                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MISSOURI

BILLIE RODRIGUEZ, DANIEL ERWIN,
MICHAEL B. ACKERMAN, KYLE FOREMAN,
DREW SCRUGGS, MARY JANE MCQUEENY,
EMILY THORPE, JENNIFER TRITT and THE
BOARD OF COUNTY COMMISSIONERS OF
THE COUNTY OF FORD, individually and on
behalf of all others similarly situated,

      Plaintiffs,
                                              Case No. 4:24-cv-00803-SRB
v.

EXXON MOBIL CORPORATION, CHEVRON
USA INC., CHEVRON PHILLIPS CHEMICAL
CORPORATION, DUPONT de NEMOURS,               CLASS ACTION
INC., DUPONT CORPORATION, CELANESE
CORPORATION, DOW INC., DOW CHEMICAL           JURY TRIAL DEMANDED
COMPANY, EASTMAN CHEMICAL
COMPANY, LYONDELLBASELL INDUSTRIES
N.V., and AMERICAN CHEMISTRY COUNCIL,

      Defendants.


                    FIRST AMENDED CLASS ACTION COMPLAINT




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       Plaintiffs individually and on behalf of all others similarly situated, file this First Amended

Class Action Complaint against the named Defendants, seeking relief to remedy the harms caused

by Defendants’ coordinated negligent and/or fraudulent representations regarding the recyclability

of plastics which led to the production and purchase of more plastics than otherwise would have

occurred. These joint misrepresentations have led to higher plastic prices than otherwise would

have occurred in a competitive market and massive sanitation problems for county and city

governments and their landfills. Plaintiffs’ allegations are based on personal knowledge as to

Plaintiffs’ own conduct and investigation of counsel based on publicly available information.

                                     I.     INTRODUCTION

       1.      This case is about Defendants’ profit-driven decision to promote the idea to the

American consumer that plastics are recyclable and better for the environment, when in reality

only a tiny fraction of plastics are ever recycled.

       2.      Defendants’ false representations regarding the recyclability of plastics led to

increased production of plastic products, increased demand for plastics products, increased prices

for plastic products and corresponding issues with the remediation of plastic waste, all of which

have harmed the citizens of Missouri and other states.

       3.      Through this Class Action Complaint, Plaintiffs, individually and on behalf of the

Classes (defined below), seek an injunction to prohibit Defendants from advertising their plastic

products as recyclable and damages for the increased cost of plastic products purchased by

Plaintiffs during the class period. Plaintiffs also seek damages under state laws to remedy the high

prices they paid because of Defendants’ conduct and under common law Public Nuisance to

remedy the high sanitation costs for plastic waste clean-up and disposal

       4.      Plastic pollution is one of the most serious environmental crises facing the world

today. Between 1950 and 2015, over 90% of plastics were landfilled, incinerated, or leaked into


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the environment. 1 Plastic waste is ubiquitous—from our rivers, lakes, and oceans to roadways and

coastlines. It is in “the air we breathe, the food we eat, and the water we drink.” 2 One study

estimates that humans ingest up to five grams or the equivalent of one credit card worth of plastic

per week. 3 Some of the largest plastics and gas companies are among the 20 petrochemical

companies responsible for more than half of all single-use plastics generated globally. 4

ExxonMobil, for example, is the world’s top producer of single-use plastic polymers. 5

        5.       Underpinning this plastic waste crisis is a decades-long coordinated campaign of

fraud and deception about the recyclability of plastics.

        6.       Despite their longstanding knowledge that recycling plastic is neither technically

nor economically viable, petrochemical companies—independently and through their industry

trade associations and front groups—have engaged in fraudulent marketing and deceptive public

education campaigns designed to mislead the public about the viability of plastic recycling as a

solution to plastic waste. These calculated efforts have effectively protected and expanded plastic

markets, while stalling legislative or regulatory action that would meaningfully address plastic

waste and pollution. Fossil fuel and other petrochemical companies have used the false promise of

plastic recycling to exponentially increase virgin plastic production over the last six decades,




1
  Roland Guyer, et al., Production, Use, and Fate of All plastics Ever Made, 3 SCIENCE ADVANCES 2-3 (2017),
https://www.science.org/doi/10.1126/sciadv.1700782.
2
  WWF, NO PLASTIC IN NATURE: ASSESSING PLASTIC INGESTION FROM NATURE TO PEOPLE 6-7 (2019),
https://wwfint.awassets.panda.org/downloads/plastic_ingest_web_spreads_1.pdf.
3
  Kala Senathirajah, et al., Estimation of the Mass Microplastics Ingested – A Pivotal First Step Towards Human
Health Risk Assessment, 404 JOURNAL OF HAZARDOUS MATERIALS 11 (2021),
https://www.sciencedirect.com/science/article/abs/pii/S0304389420319944.
4
  See Minderoo Foundation, THE PLASTIC WASTE MAKERS INDEX: REVEALING THE SOURCE OF THE SINGLE-USE
PLASTICS CRISIS 12, 14 (2021), https://cdn.minderoo.org/content/uploads/2021/05/27094234/20211105-Plastic-
Waste-Makers-Index.pdf; Minderoo Foundation, THE PLASTIC WASTE MAKERS INDEX 2023 18, 57 (2023),
https://cdn.minderoo.org/content/uploads/2023/02/04205527/Plastic-Waste-Makers-Index-2023.pdf.
5
  Minderoo Foundation, THE PLASTIC WASTE MAKERS INDEX 2023, supra note 4, at 57.


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creating and perpetuating the global plastic waste crisis and imposing significant costs on

communities that are left to pay for the consequences.

       7.      The Plastic problems described throughout this Complaint amount to a national

crisis affecting citizens, children, cities, and counties in all 50 states, including right here in

Missouri. In turn, it requires a national, 50-state solution, to stamp out their nationwide scheme.

       8.      This case seeks to hold these plastic producers and manufacturers accountable

where government enforcement has not (at least not yet). Defendants should be required to repay

the consumers, cities, counties, and others that they lied to and defrauded.

       9.      The plastics industry—which includes petrochemical companies, their trade asso-

ciations, and the front groups that represent their interests—should be held accountable for their

campaign of deception much like the producers of tobacco, opioids, and toxic chemicals, who

engaged in similar schemes.

                              II.    JURISDICTION AND VENUE

       10.      This action arises under Section 1 of the Sherman Act (15 U.S.C. § 1), and

Section 16 of the Clayton Act (15 U.S.C. § 26), as well as the antitrust, fair competition, consumer

protection, and public nuisance laws of various states. This action is for compensatory damages,

treble damages, costs of suit, injunctive relief, and reasonable attorneys’ fees.

       11.      This Court has proper jurisdiction over this matter in that Defendants have

transacted and conducted business within the state of Missouri and in this judicial district.

Specifically, each Defendant transacted business throughout the United States, including this

District. Each Defendant manufactured, sold, shipped, and/or delivered substantial quantities of

plastics throughout the United States, including this District. Each Defendant has substantial

contacts with the United States, including this District. And each Defendant engaged in an

antitrust conspiracy that was directed at and had a direct, foreseeable, and intended effect of


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causing injury to the business or property of persons residing in, located in, or doing business

throughout the United States, including in this District.

        12.      This Court has diversity jurisdiction over this action under 28 U.S.C. § 1332(d)

because this is a class action where the amount in controversy exceeds the sum or value of $5

million, exclusive of interest and costs, there are more than 100 members in the proposed class,

and Plaintiffs are located in a state different from Defendants. This Court has supplemental

jurisdiction over Plaintiffs’ pendent state-law claims pursuant to 28 U.S.C. § 1367. Subject matter

jurisdiction over this action further exists under 15 U.S.C. § 4, 15 U.S.C. § 26, and 28 U.S.C.

§§ 1331, 1337. This Court also has subject matter jurisdiction as a result of the Class Action

Fairness Act.

        13.      Defendants’ activities were within the flow of, and were intended to and did have

a substantial effect on, interstate commerce of the United States. Defendants’ products and

services are sold in the flow of interstate commerce.

        14.     Venue is proper in this Court under 15 U.S.C. § 22 and 28 U.S.C. § 1391(b), (c),

and (d) because a substantial part of the events or omissions giving rise to the claims at issue

occurred in this District, one Plaintiff resides in this District and the Defendants’ property at issue

(plastics) are located in this District, and each Defendant transacted business, was found, had

agents, or resided in this District.

                                          III.    PARTIES

        15.     Plaintiff Billie Rodriguez is a resident of the State of Missouri and purchased plastic

products in the states of Missouri and Kansas.

        16.     Plaintiff Daniel Erwin is a resident of the State of Kansas and purchased plastic

products in the states of Missouri and Kansas.




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       17.     Plaintiff Michael Ackerman is a resident of the State of California and purchased

plastic products in the states of California and New York.

       18.     Plaintiff Kyle Foreman is a resident of the State of Florida and purchased plastic

products in the state of Florida.

       19.     Plaintiff Drew Scruggs is a resident of the State of Missouri and purchased plastic

products in the state of Missouri.

       20.     Plaintiff Mary Jane McQueeny is a resident of the State of Missouri and purchased

plastic products in the state of Missouri.

       21.     Plaintiff Emily Thorpe is a resident of the State of Missouri and purchased plastic

products in the state of Missouri.

       22.     Plaintiff Jennifer Tritt is a resident of the State of Missouri and purchased plastic

products in the state of Missouri.

       23.     Plaintiff The Board of County Commissioners of the County of Ford is a duly

organized county located in Kansas, which purchased plastic products in the State of Kansas, and

operated a landfill in the State of Kansas.

       24.     Defendant Exxon Mobil Corporation (“Exxon Mobil”) is the world’s largest plastic

producing company in revenue and market capitalization. It is headquartered in Spring, Texas.

Exxon Mobil is the successor company to John D. Rockefeller’s Standard Plastics Company and

was created by merging two plastics giants (Exxon and Mobil). It dominates the American plastics

and gas industry and also is the world’s largest producer of polyolefins, additives, raw materials,

compounds and related polymers and resins. Exxon Mobil Corporation can be served at 22777

Springwoods Village Parkway, Spring, TX 77389-1425. It is registered in the state of Missouri




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with its registered agent of Corporation Service Company located at 221 Bolivar Street, Jefferson

City, Missouri 65101.

           25.     Defendant Chevron USA, Inc. is another plastics and gas company created by the

breakup of Standard Plastics Company. It is headquartered in San Ramon, California. It can be

served at 6001 Bollinger Canyon Road, San Ramos, CA 94583. It is registered in the state of

Missouri with its registered agent of The Prentice-Hall Corporation System, Inc. located at 221

Bolivar Street, Jefferson City, MO 65101.

           26.     Defendant Chevron Phillips Chemical Corporation is a joint venture between

Chevron USA Inc. and Phillips 66 Company. It is headquartered in The Woodlands, Texas, and is

one of the top suppliers of polyethylene in the world today. It can be served at 10001 Six Pines

Dr., The Woodlands, TX 77380. It is registered in the state of Missouri with its registered agent of

CT Corporation System located at 5661 Telegraph Road, Suite B, Saint Louis, Missouri 63120.

           27.     Defendant DuPont de Nemours, Inc. 6 is an American multinational company

headquartered in Wilmington, Delaware. It is a leading plastics manufacturer with revenue of over

$12 billion dollars in 2023. It can be served at 974 Centre Rd. Bldg. 730, Wilmington, DE 19805.

           28.     Defendant Celanese Corporation focuses mainly on specialty chemicals and is a

leading producer of acetic acid. It is also one of the world’s largest vinyl acetate monomers (VAM)

producer. It is headquartered in Irving, Texas. It can be served at 222 W. Los Colinas Blvd., Suite

900N, Irving, TX 75039.

           29.     Defendant Dow Inc. is one of the world’s leading material science companies. The

company conducts its worldwide business through six business units. It was incorporated in

Delaware in 2018 to serve as a holding company for the Dow Chemical Company. It is



6
    DuPont Corporation is used interchangeably when referencing to Defendant DuPont de Nemours, Inc.


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headquartered in Midland, Michigan, and can be served at 2211 H.H. Dow Way, Midland, MI

48674.

         30.   Defendant The Dow Chemical Company is headquartered at 2211 H. H. Dow Way

Midland, Michigan. As of 2021, Dow Chemical was among the three largest chemical producers

in the world. Dow Chemical produces commodity chemicals like polyethylene. Basic plastics

make up 26% of Dow Chemical sales. It is an operating subsidiary of Dow Inc. It can be served at

2211 H.H. Dow Way Midland, MI 48674. It is registered in the state of Missouri with its registered

agent of The Corporation Company located at 5661 Telegraph Road, Suite 4B, Saint Louis,

Missouri 63129-4275.

         31.   Defendant Eastman Chemical Company is a global specialty chemicals company

that produces a wide range of fibers, chemicals and advanced materials. It is a significant supplier

of coatings, adhesives, specialty plastic products and a major supplier of cellulose acetate fibers

and copolyesters. It is headquartered in Kingsport, Tennessee. It may be served at 200 S. Wilcox

Dr., Kingsport, TN 37660. It is registered in the state of Missouri with its registered agent of United

Agent Group Inc. located at 12747 Olive Boulevard, Suite 300, St. Louis, MO 63141.

         32.   Defendant LyondellBasell Industries N.V. is a multinational company. It is the

largest licensor of polyethylene and polypropylene in the world. Its United States headquarters is

located in Houston, Texas. It can be served at 1221 McKinney St., Suite 300, Houston, TX 77010.

Defendant Lyondell Chemical Company is a Delaware Corporation and is registered in the state

of Missouri with its registered agent of CT Corporation System located at 5661 Telegraph Road,

Suite 4B, Saint Louis, MO 63129-4275.

         33.   Defendant The American Chemistry Council, known as the Manufacturing

Chemists’ Association at its founding in 1872, then as the Chemical Manufacturers Association




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from 1978 to 2000, is an industry trade association for American chemical companies. It is based

in Washington, D.C. The mission of the American Chemistry Council is to promote the interests

of the chemical industry. The trade group represents U.S. chemical companies as well as the

plastics and chlorine industries, formerly known as the American Plastics Council. It can be served

at 700 Second St. NE Washington D.C. 20002. During its operations, the Council has included the

following Defendant members: Exxon Mobil, Chevron Phillips, Dow, Dupont, Eastman Chemical

Company, Celanese Corporation, and LyondellBasell.

                               IV.     FACTUAL ALLEGATIONS

       A.      Background of the Plastic Product Industry

       34.     The plastic products at issue in this case can be separated into certain categories

based on their chemical composition and end use.

       35.     Polyethylene Terephthalate (PET) is used most commonly in water and soft drink

bottles, fruit juice containers, domes or covers for prepared meals, cookie/biscuit trays, condiment

bottles, cream/nut butter containers, and cooking plastics bottles.

       36.     Polyethylene (PE) is used in milk and water jugs.

       37.     Polypropylene (PP) is used in hard containers such as pill bottles as well as

microwave dishes, yogurt and ice cream containers, and chip bags.

       38.     Polystyrene (PS) is used for water station cups and plastic cutlery.

       39.     Polycarbonate (PC) is used in longer lasting reusable containers including refillable

water bottles, nursing bottles or lab bottles.

       40.     High Density Polyethylene (HDPE) is used in milk bottles, freezer bags, ice cream

containers, pouches and sachets.

       41.     Low Density Polyethylene (LDPE) is used in squeeze bottles, cling wrap, shrink

wrap pouches and sachets.


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        42.      Plastics are part of a sector known as “petrochemicals,” or products made from

fossil fuels such as plastics and gas. More than 99% of plastics are produced from fossil fuels. 7

        B.       Most plastics cannot be recycled, causing the plastic waste and pollution
                 crisis.

        43.      There are “thousands of different types of plastic, each with its own chemical

composition and characteristics.” 8 Almost all of these plastics cannot be “recycled”—meaning

they cannot be collected, processed, and remanufactured into new products. 9

        44.      As of 2021, the U.S. recycling rate for plastic is estimated to be only 5-6%. 10

Despite decades of industry promises, plastic recycling has failed to become a reality due to long-

known technical and economic limitations.11

        45.      Certain types of plastics have no end markets (i.e., businesses that buy and use

recyclable materials to make new products), and therefore are impossible to recycle. To date, viable

markets only exist for polyethylene terephthalate (PET) and high density polyethylene (HDPE)

plastic bottles and jugs. 12 These are known as plastics #1 and #2, respectively, under the industry’s

Resin Identification Codes (RICs): 13



7
  Center for International Environmental Law (CIEL), FUELING PLASTICS: FOSSILS, PLASTICS, AND PETROCHEMICAL,
FEEDSTOCKS 1 (2017), https://www.ciel.org/wp-content/uploads/2017/09/Fueling-plastics-Fossils-plastics-
Petrochemical-Feedstocks.pdf.
8
  Professor plastics, Types of Plastic: How Many Kinds of plastics are There?, plastics Make it Possible (Jan. 18,
2012), available at https://web.archive.org/web/20220611222514/https://www.plasticsmakeitpossible.com/about-
plastics/types-of-plastics/professorplastics-how-many-types-of-plastics-are-there/ (archived June 11, 2022).
9
  U.S. EPA, The U.S. Recycling System, https://www.epa.gov/circulareconomy/us-recycling-system (“In the United
States, recycling is the process of collecting and processing materials (that would otherwise be thrown away as
trash) and remanufacturing them into new products.”).
10
   Beyond plastics & The Last Beach Cleanup, The Real Truth About the U.S. plastics Recycling Rate 3 (2022),
https://static1.squarespace.com/static/5eda91260bbb7e7a4bf528d8/t/62b2238152acae761414d698/1655841666913/
The-Real-Truth-about-the-USPlastic-Recycling-Rate-2021-Facts-and-Figures-_5-4-22.pdf.
11
   The plastic recycling rate in the U.S. has never exceeded the 2014 peak of 9.5%, and even that figure includes a
significant amount of exported plastic waste that was dumped or burned rather than recycled. Id.; John Hocevar,
Circular Claims Fall Flat: Comprehensive U.S. Survey of plastics Recyclability 7 (2020),
https://www.greenpeace.org/usa/wp-content/uploads/2020/02/Greenpeace-Report-Circular-Claims-Fall-Flat.pdf.
12
   John Hocevar, supra note 11, at 7.
13
   Brad Kelechava, Resin Identification Codes (RICs), as Specified by ASTM D7611, American National Standards
Institute (Feb. 21, 2019), https://blog.ansi.org/2019/02/resin-identification-codes-rics-astm-d7611/.


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        46.      After conducting a 10-year review on plastic recycling, in 1991, the U.S.

Environmental Protection Agency (EPA) concluded that “it appears that at the present only two

types could be considered for making into high quality objects, PET and HDPE,” specifically those

sourced from bottles. 15




14
   https://web.archive.org/web/20160126213345/http://www.plasticsindustry.org/Aboutplastics/content.cfm?Item-
Number=823&navItemNumber=1125.
15
   U.S. EPA, Ten Year Review of plastics Recycling 22 (1991), https://semspub.epa.gov/work/03/17184.pdf.


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         47.      This remains true more than 30 years later. 16 While a minority of municipal

recycling programs across the country may collect plastics with RICs #3-7, they do not actually

recycle them. 17 Instead, such plastics are incinerated or sent to landfills.

         48.      The thousands of different plastics and the variation among them further limit

recyclability. When recycling plastic waste, a facility must sort and separate thousands of pieces

of plastic by type to maintain a high degree of purity in the recycled material. 18

         49.      For this reason, some types of plastic that are technically “recyclable” are not

recycled in practice. For example, many single-use plastics are made of different types of plastic

polymers as well as other materials, such as paper, metals, or adhesives. 19 It is impractical—if not

impossible—to separate these different components for recycling. 20

         50.      Even products made of a single type of plastic often cannot be recycled together

because they include different chemical additives or colorants. 21 For example, PET is widely

accepted by municipal recycling programs, yet PET bottles cannot be recycled with PET

clamshells and other thermoforms, which are made from a PET material with different chemical

properties. 22 Similarly, green PET bottles cannot be recycled with clear PET bottles. 23



16
   John Hocevar, supra note 10, at 4 (“Only some PET #1 and HDPE #2 plastic bottles and jugs can be legitimately
labeled as recyclable in the U.S. today”); see also Greenpeace, Circular Claims Fall Flat Again: 2022 Update 27-29
(2022), https://www.greenpeace.org/usa/wp-content/uploads/2022/10/GPUS_FinalReport_2022.pdf (estimating that
the existing domestic capacity for recycling/reprocessing PET waste is 20.9% and HDPE is 10.3%, while the
capacity to recycle other plastics ranges from “negligible” to less than 5%).
17
   John Hocevar, supra note 10 at 4, 7-9; Greenpeace, supra note 15, at 3-4. For example, the City of Knoxville,
Tennessee, states on its website that its recycling facility will collect plastics #3-7, but it does not recycle them
because “there is no ‘end-market’ buyer.” City of Knoxville, Recycling,
https://www.knoxvilletn.gov/cms/One.aspx?portalId=109562&pageId=200229 (last visited Oct. 26, 2023).
18
   Judith Enck & Jan Dell, Plastic Recycling Doesn’t Work and Will Never Work, The Atlantic (May 30, 2022),
https://www.theatlantic.com/ideas/archive/2022/05/single-use-plastic-chemical-recycling-disposal/661141/.
19
   See Jefferson Hopewell et al., plastics Recycling: Challenges and Opportunities, 364 Philos. Trans. R. Soc. Lond.
B Biol. Sci. 2115, 2118 (2009), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2873020/.
20
   Id.
21
   Judith Enck & Jan Dell, supra note 16.
22
   Id.
23
   Id.; see also Becky Sullivan, Sprite Ditches its Iconic green bottle—but Environmentalists Say it’s Not Enough,
NPR ( July 28, 2022), https://www.npr.org/2022/07/28/1114242535/sprite-green-bottles-recycle.


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         51.      The quality of plastic degrades as it is recycled, limiting both the use of recycled

plastic and its continued recyclability. The fossil fuel-derived chemicals that form the basis of

plastic are vulnerable to heat and other processes used in recycling. 24 As the chemicals degrade,

they lose their quality and integrity, making recycled resins unsuitable for many manufacturers. 25

         52.      But plastics can only be recycled – or more accurately “downcycled” – once, rarely

twice. 26

         53.      Recycling most plastics is technologically infeasible, as the plastics industry has

long known, and subsequent scientific research would confirm. “When recycled, some of the

plastic can be remade into similar products; however, most is typically downcycled into a product

of lower quality and is unable to displace products made from virgin plastics [citation omitted].”27

Even PET, the most easily recycled type of plastic, quickly degrades through the recycling process.

         54.      The toxicity of plastic and its chemical additives limits the recyclability of plastic.

Many plastics commonly contain toxic additives such as stabilizers, plasticizers, coatings,

catalysts, and flame retardants. 28

         55.      Managed plastic waste contributes to plastic pollution of the environment. As

plastic waste degrades in landfills, microplastics are released into the surrounding environment,

including contamination of groundwater and surface water by air and by leachate. 29


24
   See Huiying Jin et al., The effect of extensive mechanical recycling on the properties of low density polyethylene,
97 POLYMER DEGRADATION AND STABILITY 2263 (2012),
https://www.sciencedirect.com/science/article/abs/pii/S0141391012003114 (“[P]roperties of mechanically recycled
polymers do not remain the same because of degradation from heat, mechanical stress, oxidation and ultraviolet
radiation during reprocessing and lifetime”).
25
   See Sarah DeWeerdt, Why It’s So Hard to Recycle Plastic, SCIENTIFIC AMERICAN (Dec. 13, 2022),
https://www.scientificamerican.com/article/why-its-so-hard-to-recycle-plastic/.
26
   See Roland Geyer et al., supra note 1, at 2-3.
27
   Moran et al., San Francisco Estuary Institute, A Synthesis of Microplastic Sources and Pathways to Urban Runoff
(Oct. 2021) page 76.
28
   See John N. Hahladakis et al., An overview of chemical additives present in plastics: Migration, release, fate and
environmental impact during their use, disposal and recycling, 344 J. of Hazardous Materials 179, 184-168 (Feb.
15, 2018), https://www.sciencedirect.com/science/article/pii/S030438941730763X.
29
   Leachate is a solution or product obtained by leaching, especially from landfills or other sources.


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        56.      Plastic waste may be further contaminated through curbside collection of containers

for pesticides, cleaning solvents, and other household items. 30

        57.      As plastics degrade through use and the recycling process, they begin to leach these

toxic substances. 31 For this reason, a vast majority of plastic products cannot be recycled into food-

grade packaging, food-contact surfaces, or other high-contact products. 32

        C.       Defendants knew that their promotion and production of plastic products for
                 a throw-away lifestyle created a solid-waste crisis without a solution.

                 i.       1950s: The plastics industry touted plastics’ supposed disposability.

        58.      Beginning in the 1950s, the petrochemical companies that produced plastic resins

identified a way to ensure a steady, growing demand for plastic: disposability. If plastic products

were used only once, then they would need to be purchased—and thus produced—again and again.

        59.      At the Society of the Plastics Industry’s (“SPI”) 1956 national conference,

participants were told that “developments should be aimed at low cost, big volume, practicability,

and expendability.” 33 In short, the producers’ aim should be for their products to end up “in the

garbage wagon.” 34

        60.      The shift to disposables began almost immediately—even for products that had

previously been sold to customers because they could be repurposed. 35 Plastic dry cleaning bags




30
   Greenpeace, Forever Toxic: The Science on Health Threats from Plastic Recycling 4 (2023),
https://www.greenpeace.org/usa/wp-content/uploads/2023/05/GreenpeaceUSA_ForeverToxic_ENG.pdf.
31
   Id.
32
   See Environment & Climate Change Canada, ASSESSING THE STATE OF FOOD GRADE RECYCLED RESIN IN
CANADA AND THE UNITED STATES, 4, 34 (2021),
https://www.plasticsmarkets.org/jsfcontent/ECCC_Food_Grade_Report_Oct_2021_jsf_1.pdf.
33
   plastics in Disposables and Expendables, 34 MODERN PLASTICS 93 (Apr. 1957) (emphasis in original).
34
   Id.
35
   Jeffrey L. Meikle, AMERICAN PLASTIC: A CULTURAL HISTORY 266-67 (Rutgers University Press 1995),
https://www.google.com/books/edition/American_Plastic/u_1ePU4GEGAC?hl=en&gbpv=0 (chronicling the shift to
disposables). The industry’s earlier campaigns promoting plastic as durable have also been chronicled. See id. at
186-88; Susan Freinkel, Plastic: A TOXIC LOVE STORY 145 (2011).


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were advertised as durable and reusable throughout the 1950s, 36 but the industry quickly changed

tack in 1959 after around 80 children suffocated on plastic dry cleaner bags, leading to immense

public backlash against the industry and some of the earliest calls for plastic bans. 37

         61.      SPI launched a nationwide public relations campaign, claiming that the bags were

meant to be disposable, essentially shifting the blame to the children’s parents—and it worked. 38

         62.      This campaign served as a mechanism to insulate the industry from public and

regulatory backlash while simultaneously introducing consumers to the idea of disposable plastics.

An SPI pamphlet from 1959 (Figure 1) explained that customers should “never keep a plastic bag

after it has served its intended usefulness. Destroy it: Tear it up … or tie it in a knot … and throw

it away.” 39 To do otherwise “is the worst mistake a mother could make.” 40




36
    See This Bag Spells Business, 50 DUPONT MAGAZINE 24, 25 (Feb/Mar. 1956),
https://digital.hagley.org/1956_50_01 (quoting the general manager of a Providence, Rhode Island dry cleaning
company who explained that the film bags combined “maximum transparency as well as the necessary durability.”
That durability, the article went on to say, allowed consumers to find additional uses for the bags even after they had
received their laundered clothes, stating, “Bags of ‘Alathon’ are reusable, too, as housewives have discovered”).
37
    Susan Freinkel, supra note 38, at 142-43.
38
   Jeffrey L. Meikle, supra note 38, at 249-58; see also Hiram McCann, Hazards in Film Misuse Must Be Taught
Parents, 36 MODERN PLASTICS 262 (June 1959) (on file with CCI #1356.264) (explaining that the bags were “made
and costed to be disposable” and lamenting that items ranging from cars to cleaning fluids “kill children every day,”
but in those cases “[a]dults are blamed–mainly parents. And rightly so”).
39
    Society of the plastics Industry (SPI), PLASTIC FILM: CORRECT USE AND MIS-USE 2 (1959).
40
    Id. At 3.


                                                    14
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         63.      The plastics industry’s successful navigation of this crisis—and the corresponding

threat of plastic bans—provided a model for the future, both in the way the industry would respond

to backlash and the way it would insist on disposability by offering customers no alternative. 41

Even as consumers resisted the shift to single-use plastics, which they found jarring after being

told since the 1930s that plastics were too valuable to be thrown away, the plastics industry

successfully expanded into new markets—especially single-use packaging—at an unprecedented

pace.

         64.      In 1960, packaging represented just 10% of total plastic production, but amounted

to 25% by the end of the decade. 42 By that point, disposable plastics had become the norm for

everything from detergent bottles to plastic milk jugs, and plastic rings for canned beverage six-

packs. 43

         65.      In 1963, Lloyd Stouffer, editor of the trade journal Modern Plastics, congratulated

the industry on “filling the trash cans, the rubbish dumps and the incinerators” with single-use

plastics. 44 “The happy day has arrived,” Stouffer opined, “when nobody any longer considers the

plastics package too good to throw away.” 45

               ii.       Late 1960s into 1970s: Landfills and burning were the plastic industry’s
                         “solution” to the growing pollution problem.

         66.     The industry’s success in “selling” disposability and introducing single-use plastics

had predictable consequences. By the end of the decade and into the early 1970s, plastics were

identified as a key part of the developing solid waste crisis.


41
   Jeffrey L. Meikle, supra note 39, at 249-58.
42
   Id. At 266.
43
   Id. At 265-66.
44
   See Rebecca Altman, American Beauties: How Plastic Bags Came to Rule Our Lives, And Why We Can’t Quit
them, Topic (2018), available at https://web.archive.org/web/20191113102708/https://www.topic.com/american-
beauties (archived Nov. 13, 2019) (quoting Lloyd Stouffer, plastics Packaging: Today and Tomorrow, SPI Annual
plastics Conference (Nov. 19-21, 1963)).
45
   Id.


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        67.      Modern Plastics warned companies that the industry needed to figure out a solution

to the pushback they were experiencing before “well-meaning but misinformed authorities step in

with homemade remedies and regulations.” 46

        68.      Again, facing immense public backlash and a genuine threat of regulation, 47 the

plastics industry responded with two “solutions.” The first, in response to concerns about litter,

was landfilling. As the American Chemical Society explained in 1969, “it is always possible that

scientists and engineers will learn to recycle or dispose of wastes at a profit, but that does not seem

likely to happen soon on a broad basis.” 48

        69.      Different types of plastic cannot be recycled together, even when separating out

those that cannot be recycled at all (including thermoset polymers like polyurethanes and

vulcanized rubber). For example, a PET bottle cannot be recycled with an HDPE bottle, however

similar they appear. Further complicating matters, many plastic products are made by

incorporating various additives, as well as mixing different polymers to take advantage of their

distinct qualities.




46
   Jeffrey L. Meikle, supra note 39, at 265 (quoting Joel Frados, There’s Something in the Air, 4 MODERN PLASTICS
89 (Oct. 1966)).
47
   See Jerome Heckman, General Counsel, SPI, Presentation at the Meeting of the SPI plastics Waste Management
Committee: Solid Waste and Litter: Legislative Status and Outlook—1972 (Mar. 1, 1972), available at
https://cdn.toxicdocs.org/8R/8Rq8Namx-13mzoge1jEG7N0pzm/8Rq8Namx13mzoge1jEG7N0pzm.pdf (claiming
that, at the time of the presentation in 1972, there were over “a thousand regulatory proposals . . . at various
governmental levels which could adversely affect the interests of the plastics industry”); Lester E. Blaschke,
Analysis of the Resource Recovery Act of 1970 and Its Effect on Implementation of Solid Waste Management
Programs, 34 J. ENVTL. HEALTH 89, 89 (1971), https://www.jstor.org/stable/44545882 (describing the passage of
the Resource Recovery Act in 1970, as an EPA official, represented “a significant shift in emphasis from ‘disposal’
to ‘recycling and recovery of materials and energy’”).
48
   ACS Committee on Chemistry & Public Affairs, Cleaning Our Environment–The Chemical Basis for Action, in
C&E NEWS, at 58, 60 (Sept. 8, 1969), available at
https://cdn.toxicdocs.org/6b/6bLOmw81KLQJwzb0RQ9mEadx6/6bLOmw81KLQJwzb0RQ9mEadx6.pdf.


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         70.      As explained by researchers in 1969, “[t]he very success of package makers in

marrying dissimilar materials has made packaging materials virtually unrecoverable after use.” 49

As a result, the economics of plastic recycling were—and still are— “virtually hopeless,” as one

industry insider put it in 1969. 50

         71.      Still, the greatest obstacle to plastic recycling was that no market existed for the

final product. Recycled plastic was more expensive and of lower quality than virgin resins. This

was, in part, intrinsic to the material. Even under ideal conditions, plastics experienced “a

degradation of resin properties and performance . . . during the initial fabrication, through aging,

and in any reclamation process,” as explained in a 1973 report commissioned by SPI. 51

         72.      As a direct result of these limitations, few manufacturers had any interest in

purchasing recycled resins. 52

         73.      According to the SPI report, “[r]ecycling of plastics from [municipal sources of

plastic waste] poses the greatest challenge,” because “there are no effective marketing mechanisms

for trade in contaminated, mixed plastics.” 53 The report was definitive: “When plastics leave

fabrication points, they are almost never recovered. There is no recovery from obsolete

products.” 54




49
   Arsen J. Darnay & William E. Franklin, The Changing Dimensions of Packaging Wastes, in FIRST NATIONAL
CONFERENCE ON PACKAGING WASTES at 11, 16; https://nepis.epa.gov/Exe/ZyPURL.cgi?Dockey=2000Q54D.TXT;
see also Thomas B. Becnel, supra note 54, at 85 (stating that “it is ironic that the very molecular structure that has
made [plastic] so popular creates certain disposal problems”).
50
   Eric B. Outwater, Packaging – U.S.A., in Proceedings: First National Conference on Packaging Wastes 1, 7
(1971).
51
   R.L. Glauz, et al., THE PLASTICS INDUSTRY IN THE YEAR 2000 41 (1973), Box 12, Jack Milgrom Papers, Special
Collections Research Center, Syracuse University Libraries.
52
   Id.
53
   Id.
54
   Id.


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         74.      Throughout the 1970s, SPI officials argued that plastics were an ideal material for

landfilling since “they don’t biodegrade,” they “just sit there.” 55 But the alternate “solution”

proved to be the industry favored waste-to-energy (WtE) incineration. Support for WtE was

reinforced by individual companies and trade associations representing the industry throughout the

decade. 56

         75.      And by the 1980s, while the industry pushed the false narrative of recyclability of

these plastics products, the same impediments identified in the 1960s and 1970s for why they

couldn’t be effectively recycled remained.

               iii.        1980s: After receiving backlash for their earlier “solutions,” the
                           plastics industry encouraged recycling of plastics.

         76.      By the 1980s, while the industry pushed the false narrative of recyclability of these

plastics products, the same impediments identified in the 1960s and 1970s for why they couldn’t

be effectively recycled remained. Neither landfilling nor incineration sufficiently assuaged public

concerns or regulatory pressure, and the industry again faced proposed bans on single-use plastics

in the mid-1980s. This time, it adopted a solution that it knew was popular among consumers and

policymakers alike: recycling.

         77.      SPI established the Plastics Recycling Foundation (PRF), bringing together

petrochemical companies and bottlers (Figure 2), and PRF immediately began a campaign to

demonstrate the industry’s supposed commitment to mechanical recycling. 57


55
   Radio Interview with Ralph Harding, President of the Society of the plastics Industry, in Atlanta, Georgia (n.d.).
56
   Jeffrey L. Meikle, supra note 38, at 272; see also, e.g., Internal Memorandum from Avron B. Magram, Hatco
Chemical Division, W.R. Grace Company on PVC/Ecology (May 11, 1971), available at
https://cdn.toxicdocs.org/pe/peX25LzXyN4nbMM8dO6D1Za66/peX25LzXyN4nbMM8dO6D1Za66.pdf
(discussing relevant research and updates regarding PVC incineration from January 1970 to May 1971).
57
   See Leo H. Carney, The Environment, N.Y. TIMES (Sept. 15, 1985)
https://www.nytimes.com/1985/09/15/nyregion/the-environment.html; see also Judie Neilson, Oregon Dep’t of Fish
& Wildlife The Oregon Experience, in NOAA, PROCEEDINGS OF THE WORKSHOP ON THE FATE AND IMPACT OF
MARINE DEBRIS 154, 158 (Richard S. Shomura & Howard O. Yoshida eds., 1985),



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         78.       But industry support did little to change the basic problem: plastics were

notoriously difficult to recycle, as the industry had known for years. Doubts about the viability of

municipal solid waste recycling in general went back decades.

         79.      Prior to 1980, the plastics industry consistently reached the same conclusion when

it explored the possibility of recycling plastic from the municipal waste stream: mechanical

recycling was technically and economically infeasible.

         80.      In 1986, an industry trade association acknowledged that the situation was virtually

the same as it had been decades earlier.




https://repository.library.noaa.gov/view/noaa/5680 (noting that “the Society for the plastics Industry has allocated $5
million to establish a Plastic Recycling Foundation and Institute to aggressively pursue methods to make it
economically feasible to recycle plastic in large quantities”).


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            81.      The Vinyl Institute (VI), a spin-off organization of SPI, explained in a report that

“purity and quality demands set for many applications preclude the use of recycled material.” 58 As

the organization’s founding director, Roy Gottesman, explained to attendees of an industry

conference in 1989 (Figure 3), “Recycling cannot go on indefinitely, and does not solve the solid

waste problem.” 59




            82.      Ultimately, the VI report (Figure 4) concluded, “recycling cannot be considered a

permanent solid waste solution, as it merely prolongs the time until an item is disposed of.” 60




58
   Vinyl Institute, SOLID WASTE FACT SHEET—DRAFT 5 (July 18, 1986), available at
https://climateintegrity.org/uploads/deception/1989_Vinyl_Institute_-_Fact_Sheet.pdf.
59
   Dr. Roy T. Gottesman, Executive Director, Vinyl Institute, Presentation at the Institute for International Research
Conference on Achieving Market Expansion Through plastics Recycling, An Overview of Options for Disposal of
Vinyl plastics in Municipal Solid Waste 1 (Sept. 26, 1989), Box No. 5, Jack Milgrom Papers, Special Collections
Research Center, Syracuse University Libraries.
60
     Id. at 2 (emphasis in original).


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        83.      At the Vinyl Institute meeting that same year, members discussed a recent study on

the economics of recycling. “This study indicates that based on our economic system, on the cost

of fuel and transportation, on the economic benefit of downstream markets, on the low cost of

plastic feedstocks, and the even lower cost of off grade-off spec plastic feedstocks, recycling is not

and will never be commercially viable unless it is significantly subsidized by a government entity.”

        84.      What led the industry to change its position in the 1980s was not a massive

technological breakthrough or an answer to the economic roadblocks to plastic recycling. Rather,

the plastics industry began to lie about the viability of recycling as a direct result of the backlash

they faced from the public.

        85.      As SPI officials discussed in a 1984 memo on the threat of a recycling bill (Figure

5), although they were able to shape the bill “to reflect the . . . commitment of our industry to move

forward” on recycling, “there is no question that the State of New Jersey must see substantial short-

term progress in the recycling of plastic containers or else punitive legislation . . . will attack the

problem head-on.” 61


61
  Letter from Roger Bernstein, Letter from Roger Bernstein, Society of the plastics Industry, to the New Jersey
Task Force State Government Affairs Committee, New Jersey’s Mandatory Recycling Bill 2 (Dec. 20, 1984),
available at https://www.toxicdocs.org/d/rpQVOR8obVNLbN5R69K0EJ5pJ?lightbox=1. As an SPI employee put it



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         86.      The industry felt the threat of legislative action acutely throughout the 1980s and

1990s.

               iv.         Late 1980s to Mid-1990s: The plastics industry continued its
                           recyclability campaign using trade groups to spread the message.

         87.      Looking back at the early days of this regulatory uptick, a representative from

Occidental Chemical testified to Congress in 1992 that there was a “rush to demonstrate

environmental purity. . . . The call was to recycle or be banned.” 62

         88.         Consumer demands that plastics be recycled or banned presented the plastics

industry with a severe problem. The industry knew that mechanical recycling was not a viable

solution—yet renewed concerns about plastic waste and its impact on the environment meant they



in a different memo, “the NJ Recycling office regards plastics as a problem not shared by competitive materials.”
Memorandum from John C. Malloy, Director of Packaging Services, SPI, to Plastic Bottle Institute (Oct. 12, 1984).
62
   Plastics Recycling: Problems and Possibilities: Hearing Before the Subcomm. on Env’t & Emp. of the H. Comm.
on Small Bus., 102nd Cong. 121 (1992) (testimony of William F. Carroll, Jr., Ph.D., Director of Commercial
Development, Occidental Chemical Corp.). The Occidental representative went on to explain the challenge of the
situation given the poor state of plastic recycling infrastructure and development: “The plastics industry was made to
feel the pressure acutely. Programs for each plastic, and in many cases each grade of plastic, had to be devised and
technically proven. Bottles had to be sorted, cleaned, purified and made into pellets for processors.” Id.


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needed the public to believe recycling could address their concerns, and the industry was invested

in its success.

         89.      The industry took a familiar approach, leaning on its trade associations just as it

had in the face of previous crises. 63 SPI’s Public Affairs Council (“PAC”), created after SPI

successfully defeated a recycling bill in New York City in 1971, 64 served as a model in particular.

Initially established as the Plastics Waste Management Fund, PAC brought together 12

petrochemical companies “to fight off restrictive legislation everywhere,” in the words of SPI

President Ralph Harding, Jr. 65

         90.      Similar trade associations and front groups proliferated during the 1980s and early

1990s. Along with the Plastics Recycling Foundation and Vinyl Institute, the petrochemical

companies, with support from SPI, created a variety of organizations in this brief span, 66 including:

the Plastic Bottle Institute (PBI) in the early 1980s; the Center for Plastics Recycling Research

(CPRR) at Rutgers University in 1985; the Council on Packaging in the Environment (COPE) in

1986; and the Council for Solid Waste Solutions (CSWS) in 1988 (Figure 6), which became

known as the Partnership for Plastics Progress (P3) in 1992 before quickly being reorganized as

the American plastics Council (APC). 67


63
   See, e.g., Jerome Heckman, supra note 50 (addressing the plastics industry as SPI’s general counsel amid fighting
proposed taxes on plastic containers and other regulation on plastics in 1972).
64
   Id.
65
   Jeffrey L. Meikle, supra note 38, at 272-73 (quoting a talk given by Ralph Harding, Jr. entitled “Challenges
Facing the plastics Industry” on December 8, 1971).
66
   These organizations were not necessarily contained within a single umbrella organization. For example, SPI and
the Chemical Manufacturers Association both had official roles in the Partnership for plastics Progress. The board of
directors, “made up of the highest level of industry executives,” and “function[ed] as a business council under the
auspices of the” CMA, while SPI was responsible for “staffing and implementing Partnership programs.”
Partnership for plastics Progress, Introducing the Partnership for plastics Progress (Jan. 1992).
67
   Internal notes at APC indicate that the name was changed after it was poorly received by consumers: “The
connect betw[ee]n P3 & SPI was clutter—no good[.] Consumers don’t like.” Bailey Condrey, APC, Staff Mtg
8/24/92, in STAFF MEETINGS 53 (1992). These issues had been anticipated a year prior, when internal discussions
about organization names concluded: “P3 great internally, but bad externally,” and the group would “[n]eed
consumer-friendly name.” Bailey Condrey, APC, Outreach TF 8/23/91, in NOTES 6 (1991). The Task Force praised
another unused acronym because it was “[m]ore publically [sic] focused” and “[n]o conspiracy implied.” Id. at 7.


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           91.      The Council for Solid Waste Solutions (the Council) formed in 1988 in furtherance

of their campaign to convince the public that recycling was the answer to the plastics waste and

pollution crisis. 68

           92.      After Exxon, Mobil, and other major players in the industry formed the Council,

they pushed the plastics recycling message with increased coordination and seriousness.

           93.      The Council spent millions of dollars on advertisements to herald recycling as the

solution to plastic waste in hopes to change public perception. For example, the Council took out

a 12-page advertisement in the July 17, 1989 edition of Time magazine exclaiming, “The

URGENT NEED to RECYCLE.” Issued by the official-sounding organization, the “Council for

Solid Waste Solutions,” this advertisement pushed the Council’s agenda and advertised for the

Council and its members.




68
     Council for Solid Waste Solutions, The Urgent Need to Recycle (July 17, 1989) Time.


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        94.      In 1989, Mobil misleadingly promised the public that it was “venturing into

recycling mainly out of a sense of environmental concern. ‘We are responsible for that segment of

the waste stream, so we’re going to see that it’s disposed of consistent with’ the federal [EPA’s]

recommendations.”

        95.      At the time that Mobil made these statements, the national plastics recycling rate

was between just one and two percent. See Figure 7: National Recycling and Composting Rates

from 1960 to 2018. 69

        Figure 7




69
   U.S. Environmental Protection Agency, National Overview: Facts and Figures on Materials, Wastes, and
Recycling https://www.epa.gov/facts-and-figures-about-materials-waste-and-recycling/national-overview-facts-and-
figures-materials#Trends1960-Today.


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Recycling and composting as a percentage of generation

                               1960 1970 1980 1990 2000 2005             2010 2015 2017 2018

Paper and Paperboard            17% 15% 21% 28% 43% 50% 63% 67% 66% 68%

Glass                           2%       1%   5%     20% 23% 21% 27% 28% 25% 25%

Plastics                        Neg. Neg. <1%        2%    6%      6%     8%     9%     9%     9%

Yard Trimmings                  Neg. Neg. Neg. 12% 52% 62% 58% 61% 69% 63%

Lead-acid Batteries             Neg. 76% 70% 97% 93% 96% 99% 99% 99% 99%

“Neg.” means less than 5,000 tons or 0.05 percent.

        96.     Other trade associations, such as the National Association for PET Container

Resources (NAPCOR) and the Flexible Packaging Association (FPA), were established or took on

new importance over the same time period.

        97.    All of these groups had the same directive: defend the plastics industry from restric-

tive legislation; and worked in concert to push the same narrative: selling recycling as a viable

solution to plastic waste. (Figure 8).




                                               26
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        98.      The largest resin producers, including Exxon, Mobil, DuPont, and Dow, invested

tens of millions of dollars into various aspects of plastic recycling, including public relations

efforts to shape consumer perception of recycling. 70

        99.      One of the first and most important steps in this campaign to make consumers

believe in plastic recycling was the industry-wide implementation of a labeling system known as

Resin Identification Codes, or RICs. First introduced in 1988 by SPI, in an attempt to stave off

regulation, the “Voluntary Plastic Container Coding System,” as it was originally known, grouped

plastics by resin type and labeled them with a number surrounded by a triangle of “chasing

arrows,” the widely recognized symbol for recycling. 71 The “chasing arrows” symbol, a logo

showing three arrows each folded in the middle and arranged in a triangle was invented in 1970

by a student who won a contest held by a box manufacturer to promote recycling of paper. 72

        100.     SPI modified and adopted the chasing arrow symbol for plastic containers,

including a number in the middle of the three arrows ranging from 1 to 7, that would correspond

to the type of resin the item was made from.

        101.     The chasing arrows symbol is now strongly associated with recycling, and

consumers usually assume that the symbol identifies items that can be recycled. 73 Even though it

is universally understood as the recycling symbol the symbol is unnecessary and misleading.

        102.     Indeed, in practice, the symbol led consumers to believe that all labeled plastic

items were recyclable. And in turn, drove the demand for plastics by consumers. In truth, however,

the plastic resin identification codes confused consumers, who believed that any item containing




70
   Susan Freinkel, supra note 39, at 162-63.
71
   Id. at 177-78.
72
   Che, His Recycling Symbol Is Everywhere. The E.P.A. Says It Shouldn’t Be., N.Y. Times (Aug. 3, 2023)
https://www.nytimes.com/2023/08/07/climate/chasing-arrows-recycling-symbol-epa.html.
73
   Id.


                                                  27
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the chasing arrows symbol was recyclable. When in fact, most plastic resins could not be recycled

because there were no recycling facilities that were capable of recycling most resin numbers. Two

surveys in different states showed that between 53 and 74 percent of consumers believed the

presence of the symbol on a product meant it could be recycled where they live. In fact, recyclers

themselves were clear that they did not need, and in some cases actively opposed, SPI’s RIC

system. (Figure 9).




           103.     Despite these concerns, the plastics industry continued to push for the adoption of

the codes, with other trade associations like APC joining SPI in the fight to codify the system

through state legislation with a clear purpose: “to prevent bans.” 74 The industry encouraged the

adoption of the codes not despite the confusion the RIC system would cause, but because of it. As

APC officials noted in a 1992 meeting, the chasing arrows were a “consumer tested mark” and




74
     Bailey Condrey, Staff Mtg 8/24/92, in STAFF MEETINGS, supra note 70, at 54.


                                                     28
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“most identified.” 75 The RIC system conveyed that plastics are recyclable and, by the mid-1990s,

39 states had adopted legislation requiring the symbols. 76

        104.     Industry trade associations also sought to influence consumer views on plastic

recycling through other means. The industry heavily publicized repeated “commitments” to

recycling, only to quietly ignore them when they were not achieved. 77

        105.     The plastics industry set these goals knowing they were unlikely to meet them,

according to a representative of DuPont. “It is no secret that the quantitative goals industry

originally set for itself for economically recycling plastic containers extracted from municipal

waste streams were extremely ambitious,” James Lohr told attendees at a 1992 recycling

conference. 78

        106.     Unfortunately for the industry, Lohr explained, “[t]he goals have proven to be an

even greater ‘stretch’ than originally anticipated.” 79

        107.     APC internally acknowledged that their publicized goal to recycle 25% of post-

consumer plastic bottles and containers by 1995 would be difficult to reach years before.

        108.     In 1992, staffers at APC noted that “[a]dvocacy doomed to failure unless

signif[icant] resources allocated to recy[cling],” 80 and acknowledged that the goal “will be difficult

to reach” since the “value of the product is lower than cost to prod[uce].” 81



75
   Bailey Condrey, Monday Mar 23 Staff Mtg., in STAFF MEETINGS, supra note 70, at 11.
76
   See Richard Lindsay Stover, et al., Ecology Center, Report of the Berkeley plastics Task Force 9 (Apr. 8, 1996),
https://ecologycenter.org/plastics/ptf/; Steve Toloken, FTC Cracks Down on Resin Code Placement, PLASTICS NEWS
(May 4, 1998), https://www.plasticsnews.com/article/19980504/NEWS/305049986/ftc-cracks-down-on-resin-code-
placement.
77
   See, e.g., Tom Ford & Roger King, APC Retreats from Goal To Recycle 25%, PLASTICS NEWS (Mar. 25, 1996),
https://www.plasticsnews.com/article/19960325/NEWS/303259995/apc-retreats-from-goal-to-recycle-25 (SPI and
the Council for Solid Waste Solutions announced in 1991 a goal to recycled 25% of post-consumer bottles and
containers by 1995, but abandoned the goal in 1995).
78
   James E. Lohr, supra note 77, at 4.
79
   Id.
80
   Bailey Condrey, Staff Mtg 4/13/92, in STAFF MEETINGS, supra note 70, at 13.
81
   Bailey Condrey, Staff Mtg 8/24/92, in STAFF MEETINGS, supra note 70, at 53.


                                                   29
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        109.     By January 1994, APC staff again acknowledged that they were unlikely to meet

the goal and began discussing how they hoped the failure would be viewed. 82 Still, they were

careful to avoid emphasizing this in public. An Exxon employee warned APC staff (Figure 10)

that they did not “want paper floating around saying we won’t meet goal” since the issue was

“HIGHLY SENSITIVE POLITICALLY.” 83




        110.     In light of these failures, the industry developed new ways of measuring and

presenting recycling rates.

        111.     Internal APC meeting notes from May 1995, for example, indicate that the

organization was “moving from reporting plas[tic] pkg #s [sic] to bottles only,” 84 making it appear

that rates had increased more than they actually had. This “roll out of new recy[cling] rates” was

appealing because it “helps us justify the new methodology.” 85


82
   Bailey Condrey, ART Meeting – Houston 1/26/94, in NOTES, at 24 (1994).
83
   Id. at 25 (emphasis in original).
84
   Bailey Condrey, Staff Mtg 5/8/95, in STAFF & COMMUNICATIONS MTGS. 111 (1994-1996).
85
   Bailey Condrey, May 5, 1995 Red Mtg., Tech Review Prog., in STAFF & COMMUNICATIONS MTGS., supra note 70,
at 107. An alternative system of measurement and a new phrase, “Recovered for Recycling,” had been developed by
NAPCOR in partnership with the accounting firm Ernst & Young. See generally R.W. Beck, 1995 NATIONAL POST-



                                                 30
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        112.     Industry advertisements, whether sponsored by individual petrochemical

companies or front groups, normalized the idea that plastics could be recycled among consumers

and policymakers. But most advertisements simply repeated the same lies about the viability of

plastic recycling. According to a NAPCOR ad placed in Ladies’ Home Journal in 1991 (Figure

11), “a bottle can come back as a bottle, over and over again.” 86




        113.     CSWS advertised its materials demonstrating how people could set up plastic

recycling programs in their communities and left little room for doubt: “The proven systems are

in place. The talk is over. Plastics recycling is here.” 87 And COPE (then known as the Council on




CONSUMER PLASTICS RECYCLING RATE STUDY (Sept. 1996), Box No. 12, Jack Milgrom Papers, Special Collections
Research Center, Syracuse University Libraries.
86
   National Association for Plastic Container Recovery, A Bottle That Can Come Back for New Year’s Eve is a
Cause for Thanksgiving, LADIES HOME JOURNAL 92 (Dec. 1991).
87
   Council for Solid Waste Solutions, plastics Recycling Has Taken Off, STATE LEGISLATURES 35 (Apr. 1991); see
also Council for Solid Waste Solutions, Innovations in Recycling: plastics Industry Offers Step by Step Recycling
Program Set Up, STATE LEGISLATURES a2, special insert at 13 (June 1991).


                                                  31
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Plastic and Packaging in the Environment) told Chicago Tribune readers that they should “Recycle

Plastic to Save Landfill Space” to celebrate Earth Day in 1992. 88

        114.     Perhaps most egregiously, plastics industry trade associations representing the

petrochemical companies developed “sponsored educational materials” for use in schools. 89

        115.     For example, a 1994 educational guide distributed by the California Department of

Conservation Division of Recycling promoted materials created by trade associations and

petrochemical companies, including free curriculum materials on plastic recycling from Dow, 90

an APC guide to setting up a school recycling program, 91 and a Foodservice Packaging Institute

(FPI) video entitled “Foodservice Disposables: Should I Feel Guilty?” discussing “the growing

controversy over reusable versus disposables.” 92 Another video, “Working Together for a

Healthier Planet,” was produced by APC in 1992—it featured a narrator making blatantly false

statements, including the claim that “most plastics can be melted and reused over and over

again.” 93

        116.     When public backlash prompted threats of legislative and regulatory action, the

plastics industry recognized that the appearance of action was its best defense. The industry




88
   Council for Solid Waste Solutions & National Association for Plastic Container Recovery, Together, We’re
Working to Improve Products for Our Environment, CHICAGO TRIBUNE Z21 (Apr. 5, 1992).
89
   Molding Young Minds: Firms Spend Big to Get Views into Public Schools, PLASTICS NEWS (Oct. 30, 1995),
https://www.plasticsnews.com/article/19951030/NEWS/310309999/molding-young-minds-firms-spend-big-to-get-
views-into-public-schools.
90
   Cal. Dep’t of Conservation, Div. of Recycling, EDUCATION & RECYCLING: EDUCATOR’S WASTE MANAGEMENT
RESOURCE & ACTIVITY GUIDE 1994 124, 127 (1994).
91
   Id. at 131; see also National Energy Information Center (NEIC), ENERGY EDUCATION RESOURCES 8 (Mar. 1997)
(describing another APC education campaign as “a unique hands-on kit, designed to help middle level science
classes explore the world of plastics”).
92
   Cal. Dep’t of Conservation, supra note 93, at 133; IAMFES Audio Visual Library, DAIRY, FOOD, &
ENVIRONMENTAL SANITATION 195 (Mar. 1993) (describing the educational material as a video that “examines such
issues as litter, solid waste, recycling, composting and protection of the earth’s ozone layer” and “makes for an
excellent discussion opener on . . . the environmental trade-offs (convenience, sanitation and family health) that
source reduction necessarily entails”).
93
   Working Together for a Healthier Planet, at 8:31 (American plastics Council 1992).


                                                   32
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announced direct investments in recycling initiatives, taking the form of research efforts, pilot

programs, and company-owned recycling facilities.

         117.   Whatever form they took, they shared a common purpose: to prevent bans on

single-use plastics. Although heavily publicized in their initial phases, investments in these

“recycling” projects rarely lasted. The projects either never came to fruition, or the facilities were

never built or shut down quietly when the threat of regulation passed.

         118.   Short-term industry investment could not overcome the economic obstacles to

plastic recycling. “The basic issue is economics,” the director of environmental solutions at B.F.

Goodrich explained to an industry panel in 1992. “[F]or commodity plastics, including PVC, the

costs of recycling or recovery either overlap or are greater than the selling price for these materials.

This is the essence of the problem and the basic reason why recycling is not growing at faster

rates.” 94

         119.   Ideally, a representative of Eastman Chemical told attendees of an industry

conference in 1994 that consumers could put their plastic containers into recycling bins and “be

assured that they would be separated into pure streams and would all be sold for viable reuse

applications.” 95 But “[w]hile someday this may be a reality,” he explained, “it is more likely that

we will wake up and realize that we are not going to recycle our way out of the solid waste issue.” 96

         120.   The petrochemical companies continued to be primarily invested in expanding

production, and that meant more virgin resins. Between 1990 and 1996, for every pound of plastic

packaging that was recycled, an average of four pounds of virgin plastic was produced.


94
   F.E. Krause, Director Environmental Solutions, Geon Vinyl Division, BF Goodrich Co., Presentation to The
Vinyl Industry Tripartite Meeting, PVC Recycling—An Overview 1 (Sept. 3-4, 1992), available at
https://www.toxicdocs.org/d/91wxG1YnjQ8KjOnZ3jE9wLxg7?lightbox=1.
95
   Noel Malone, Manager plastics Solid Waste Management, Eastman Chemical Company, Presentation at Bev-Pak
America’s ’94 Program, Automated Sortation of Plastic Containers 1-2 (1994), Box No. 5, Jack Milgrom Papers,
Special Collections Research Center, Syracuse University Libraries.
96
   Id. At 2.


                                                33
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        121.     Another employee at Occidental, James R. Clark, explained at a 1992 conference,

“the economics of virgin production”— meaning the widespread availability of cheap, virgin

resins—”have put downward pressure on recycled resin value in the marketplace.” 97 He told

attendees that while “[v]irgin resin meets” the criteria of converters—including characteristics like

consistent color, low contamination, and processability—”current recycled materials fail in many

of these categories.” 98

        122.     In 1995, even as APC officials continued their campaign to convince the public that

recycling was viable, staffer Bailey Condrey noted internally (Figure 12) that “virgin supplies will

go up sharply in near future [and] kick the shit out of PCR (Post-Consumer Recycled material)

prices.” 99




        123.     “Recycling is not always the best option as it does not always effect [sic] greatest

environmental gain,” explained the European Vinyls Corporation in 1993. “In many instances

where mechanical recycling is possible, the energy and other resources consumed outweigh the




97
   James R. Clark, Product Manager Recycling, Occidental Chemical Company, Presenting at ETEX ’92: Turn
Waste into Profits, plastics Recycling Strategy 1 (Apr. 6-7, 1992), Box No. OS2, Jack Milgrom Papers, Special
Collections Research Center, Syracuse University Libraries.
98
   Id. at 3.
99
   Bailey Condrey, Staff Mtg 11/6/95, in STAFF & COMMUNICATIONS MTGS. 111, 182 (1994-1996).


                                                  34
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environmental gain.” 100 Additional research highlighted these concerns. In 1996, the Association

of Plastics Manufacturers in Europe discussed a study that found “there is a limit . . . to the amount

of household plastics waste which can be mechanically recycled with environmental gains.”

(Figure 13). 101




        124.     The plastics industry’s failure to overcome the technical and economic obstacles to

mechanical recycling may have suggested the need for additional research and investment, either

a doubling-down on the mission of the “strike force” or exploration of other options in the fight

against plastic waste. But, in reality, the opposite happened.

        125.     The Center for plastics Recycling Research shuttered its doors in 1996, as did

several of the plastic recycling facilities owned by various petrochemical corporations, including

Union Carbide. 102




100
   Rolf Buhl, European Vinyls Corp., UPDATE OF THE PVC RELATED ENVIRONMENTAL DEVELOPMENTS IN EUROPE
AS PER JANUARY 1993 25 (Jan. 25, 1993), available at
https://www.toxicdocs.org/d/O19KKZqrv3EGM5451dXYGmbr1?lightbox=1.
101
    Ass’n of Plastic Mfrs. in Europe (APME), Summary Report: Separated Mixed Plastics Waste as a Fuel Source 2
(1996).
102
    See Dianne Dumanoski, Key Events of 1996, PLASTICS NEWS (Apr 26, 2004),
 https://www.plasticsnews.com/article/20040423/NEWS/304239998/key-events-of-1996.


                                                 35
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        126.     NPRC fell well short of its 25% recycling commitment – it recycled under 2% as

of 1995, 103 and was sold in 1999. 104

        127.     Recycling-oriented industry front groups also shifted to the background or, in the

case of groups like COPE, ceased operations. 105

        128.     All of these changes reflected a broader shift away from the highly visible campaign

for recycling that defined the period between 1985 and 1995.

                 v.       Mid-1990s to 2010s: The plastics industry successfully curbed pressure
                          to create more recyclable plastics, yet recycling continued to prove to
                          be an ineffective method to combat plastic pollution and waste.

        129.     Recycling research and advocacy were no longer the priorities they once had been

because, as far as the industry was concerned, the real problem had been addressed. The public

had been successfully convinced that plastics could be recycled, and the actual viability of

recycling mattered far less to the industry than perception.

        130.     By the mid-1990s, public outrage on plastic waste had begun to subside, and

plastics fervor waned in state legislatures and city councils across the country. 106

        131.     With that decline in public pressure came a sense of security that the industry had

not felt for some time. APC President Red Cavaney explained that “in the early 1990s the public




103
    Clare Goldsberry, supra note 133.
104
    Steve Toloken, Thermoformer Elm Packaging Buys NPRC, PLASTICS NEWS ( July 5, 1999),
https://www.plasticsnews.com/article/19990705/NEWS/307059998/thermoformer-elm-packaging-buys-nprc.
105
       See    Recycling     Structure    is    Worth      Salvaging,     PLASTICS     NEWS,    (Dec.     9,    1996),
https://www.plasticsnews.com/article/19961209/NEWS/312099976/recycling-structure-is-worth-salvaging. Further
confirmation to industry insiders of the declining importance of recycling came in 1996 when Tom Rattray, the
recycling expert who explained that petrochemical companies viewed recycling as competition, retired from his
position as Procter & Gamble’s associate director for environmental quality. The company decided not to fill his
position. Requiem for a Heavyweight, PLASTICS NEWS (Sept. 16, 1996).
106
    S See Roger King, Big Reforms Not Likely by State Legislatures, PLASTICS NEWS (Jan. 16, 1995). Internal
documents indicate that by this time, industry fears of increased regulation and recycling mandates had largely
shifted abroad. In a December 1995 meeting, APC staffers discussed the “European vs. American model” of
packaging regulation, noting “more [and] more countries moving toward mandated recycling goals.” Bailey
Condrey, Staff Mtg. 12/4/95, in STAFF & COMMUNICATIONS MTGS., supra note 108, at 194.


                                                   36
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focus was very much on targets, and they seemed the most easily explained way of showing that

something was being done.” 107

        132.     But while an APC spokesperson assured the public that the organization remained

“very much committed to increased recycling,” the situation was different in 1996 than it had been

when they set recycled content goals that had not been reached. 108 “The idea of rates, dates,

mandates … numerical goals, is all very artificial.” 109 The plastics industry had “progressed

beyond” these sorts of “targets,” Cavaney explained. 110

        133.     This shift reflected the fact that the implementation of a sustainable plastic

recycling infrastructure had never been as important to the industry as relieving public and

regulatory pressure.

        134.     As Exxon Chemical Vice President Irwin Levowitz succinctly explained in a

January 1994 meeting with APC staff (Figure 14), “We are committed to the activities, but not

committed to the results.” 111




107
    Tom Ford & Roger King, supra note 99.
108
    Id.
109
    Id.
110
    Id.
111
    Bailey Condrey, Gov/Tech Mtg 1/21/94, in NOTES, supra note 86, at 7-8.


                                                  37
       Case 4:24-cv-00803-SRB               Document 48          Filed 01/17/25   Page 40 of 98
        135.    In essence, the plastics industry had won, and they knew it. As a Plastics News

columnist told readers in March 1995, “[t]he plastics recycling war is over. We should declare

victory and put the money into cancer research. . . . [T]he level of plastics recycling is about 22

percent and won’t increase greatly for each new dollar spent.” 112

        136.    The results of the plastic recycling research and development sprint had been

limited, but the public relations campaign accompanying it had been remarkably effective.

        137.    Working in concert, petrochemical companies and their trade associations

successfully convinced consumers that recycling presented a viable solution to the plastic waste

crisis, and that was enough.

        138.    Polling conducted for APC in 1997 showed that, while respondents who worked in

the waste management field were rapidly losing confidence in recycling and shifting their priorities

toward source reduction, 113 “recycling continues to be seen as the best use of a community’s time

and money for resource management by the media, government, and customers.” 114

        139.    Members of the media in particular embraced the industry’s narrative on recycling,

with a majority favoring plastic recycling over alternatives like reuse or source reduction. 115 Media

respondents were also more likely to believe that plastic recycling was economically self-sufficient

compared to other groups. 116

        140.    In 2000, the plastics recycling rate sat at only six percent and only increased three

percentage points, to nine percent, by 2018. 117 According to plastic waste export data, the


112
    Roger King, Don’t Throw More Money at Recycling, PLASTICS NEWS (Mar. 13, 1995),
https://www.plasticsnews.com/article/19950313/OPINION02/303139979/don-t-throw-more-money-at-recycling.
113
    See Cambridge Reports, Research Int’l, RESOURCE MANAGEMENT OPTIONS, PLASTICS, AND THE PLASTICS
INDUSTRY: VIEWS OF APC’S TARGET AUDIENCES 1 (May 1997).
114
    Id.
115
    Id.
116
    Id. at 2.
117
    U.S. Environmental Protection Agency, National Overview: Facts& Figures on Materials, Wastes, and
Recycling, supra.


                                               38
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ostensible increase to nine percent was largely due to millions of pounds of plastic waste being

exported each year to China and developing countries, supposedly for recycling but often for

incineration or landfilling. 118 Today, the plastic waste exports have declined and the U.S. plastics

recycling rate is a dismal five percent. 119

        141.     The steep increase in plastic production over the past 60 years, as depicted in

Figure 15, created a dramatic increase in plastic waste: in the United States, plastic increased as a

percent of municipal solid waste (by mass) from 0.4 percent in 1960 to 12.2 percent in 2018.120

An estimated 44 million tons of plastic waste were generated in the United States in 2019.

        Figure 15 plastics Production Chart and Prediction to 2060 121




118
    Beyond plastics and the Last Beach Cleanup, The Real Truth about the U.S. plastics Recycling Rate, supra note
9, at page 2.
119
    Nat. Renewable Energy Laboratory, NREL Calculates Lost Value of Landfilled Plastic in the U.S. (April 28,
2022) https://www.nrel.gov/news/press/2022/nrel-calculates-lost-value-of-landfilled-plastic-in-us.html; see also
Beyond plastics and the Last Beach Cleanup, supra note 9.
120
    Com. on the U.S. Contributions to Global Ocean Plastic Waste, Nat. Academy Sciences, Engineering, and
Medicine, Reckoning with the U.S. Role in Global Ocean Plastic Waste (2022) page 3. (Additionally, the generation
of municipal solid waste in the United States has increased significantly over the past 60 years).
121
    Global Plastic Production and Projections, 1950 to 2060, Our World in Data
https://ourworldindata.org/grapher/global-plastic-production-projections.


                                                  39
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        142.     The excessive amount of plastic waste and pollution is one of the most serious

environmental crises confronting Missouri and the planet today. According to the U.S.

Environmental Protection Agency’s (EPA) latest estimates, approximately 23 percent of global

plastic waste was improperly disposed of, burned (creating harmful and toxic emissions), or leaked

into the environment in 2019.

        143.     Widespread production and promotion of single-use plastic has led to persistent

plastic leakage into the environment 122 Around the world each year, an estimated 11 million tons

of plastic waste become aquatic pollution, and 18 million tons of plastic waste pollute land.

Together, that is the equivalent of four garbage trucks of new plastic waste polluting water or land

every minute. 123

        144.     Single-use plastics – plastic packaging, bags, straws, and disposable plasticware

and utensils – represent the largest plastics application, and account for one-third of all plastics

consumed globally. 124 Single-use plastics comprise most of the plastic waste that escapes and/or

is discharged into the environment. 125

        145.     Once plastic waste enters the environment as pollution, it is long-lived, cumulative,

friable, and mobile, and can have substantial negative effects on a wide range of freshwater,

marine, and terrestrial species. Removing plastics from the environment becomes difficult and

costly as plastics fragment into smaller and smaller pieces.

        146.     Defendants produce the primary chemicals and polymers used to produce plastic

and styrofoam products such as bottles, cups, plastics, utensils, take-out containers, and packaging


122
    Organization for Economic Cooperation and Development (OECD), Plastic Pollution is Growing Relentlessly as
Waste Management and Recycling Fall Short, Says OECD (Feb. 22, 2022)
https://www.oecd.org/en/about/news/press-releases/2022/02/plastic-pollution-is-growing-relentlessly-as-waste-
management-and-recycling-fall-short.html.
123
    Lau et al., Evaluating Scenarios Toward Zero Plastic Pollution (2020) 269 Science 1455.
124
    Minderoo 2023, supra note 4, page 17.
125
    Id.


                                                 40
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designed for single-use that are sold throughout United States, and Defendants consider the

production of these polymers as the “core” of their chemicals and products portfolio and see 80

percent of its growth potential as “dependent on single-use plastics applications.”

        147.       Over the years, Exxon Mobil and the other Defendants expanded their U.S. plastic

production to 7.7 million tons per year in 2023. Plastic waste has also grown, for instance, from

8.9 percent of all managed trash in California in 1999 to almost 14 percent of all managed trash in

California in 2021. Even when millions of tons of waste plastic were still being exported to China

each year, plastics recycling never managed to reach 10%. Despite the stark failure of plastics

recycling, the plastics, packaging, and products industries have waged a decades-long

misinformation campaign to perpetuate the myth that plastic is recyclable. 126

        148.         “Plastic waste is not just an environmental issue. It’s a waste management issue.

It’s also a land use issue because landfills are closing in many areas,” Anelia Milbrandt, a senior

research analyst at National Renewable Energy Laboratory (NREL) said. “What do we do with all

that waste?” 127

        149.       Tellingly, all polled groups—consumers, media members, government officials,

and even waste management industry representatives—believed that plastic could be economically

recycled at a much higher rate than it could be. 128

               vi.          Today: The plastics industry’s aggressive misinformation campaign
                            continues to deceive consumers.

        150.         In 2019, NAPCOR and its membership of companies that manufacture and

distribute PET containers conceived a scheme to attempt to combat a rising “tide of anti-plastic



126
    Beyond plastics, The Real Truth about the U.S. plastics Recycling Rate, supra note 9, at page 2. See also PBS
Frontline, “Plastic Wars,” March 31, 2020 https://www.pbs.org/wgbh/frontline/documentary/plastic-wars/
127
    Nat. Renewable Energy Laboratory, NREL Calculates Lost Value of Landfilled Plastic in the U.S. (April 28,
2022), https://www.nrel.gov/news/press/2022/nrel-calculates-lost-value-of-landfilled-plastic-in-us.html.
128
    See id.


                                                   41
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sentiment.” To address this issue, NAPCOR hired a public relations firm to address these concerns

and the “voices calling for safe, environmentally conscious packaging alternatives.” The public

relations firm then created the “Positively PET” slogan for its campaign. NAPCOR’s public

relations firm hired specifically to address this rising tide advised NAPCOR that it should “not be

the overall handle for the account” to ensure that “consumers don’t feel like they are being

preached to.”

           151.   Instead of NAPCOR promoting the Positively PET campaign, internal documents

reveal that NAPCOR hired social media influencers to promote “PET plastics messaging.” These

social media influencers were paid to post Positively PET posts containing the claim that a PET

bottle is 100% recyclable and can be made with 100% recyclable content. But that claim doesn’t

match NAPCOR’s own recycling data for PET Bottle Collection Rates, 2001 – 2022 (Figure

16). 129

           Figure 16: PET Bottle Collection Rates, 2001-2022




129
   NAPCOR’s 2022 PET Recycling Report Demonstrates Bottle-to-Bottle Circulatrity Continues
on the Rise (Dec. 13, 2023), available at: https://napcor.com/news/2022-pet-recycling-report/.


                                             42
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           152.      The fraudulent campaign continued into 2024, when NAPCOR entered the debate

on the 2024 Paris Olympics ban on single-use water bottles and cups. NAPCOR communications

director, Lindsay Nichols, described this strategy on inserting industry-favoring messaging into

trending conversations as the opportunity to “newsjack.” And to ensure a successful hijack of news

and trending topics with NAPCOR’s misleading recycling messaging, NAPCOR encouraged all

posts to include common hashtags such as #Olympics, #Paris2024, and #TeamUSA.

           153.      Similarly, Defendants and associated plastics industry trade group continue their

mislead advertising campaign. For example, the previously-discussed Society of Plastics Industry

(SPI) changed its name in 2016 to the Plastics Industry Association. Even as recently as 2023,

Exxon Mobil played an active role in the Plastics Industry Association’s governance, where an

Exxon Mobil Senior Sustainability Advisor was Vice Chair of the Plastics Industry Association’s

Recycling Committee.

           154.      The Plastics Industry Association, with Exxon Mobil at the helm, seemingly

continues to play an integral role in pushing the messaging that plastics are recyclable, as indicated

by its website 130 and companion site, recyclingisreal.com.

           155.      Defendants, working in conjunction with these trade groups, have successfully

worked for over 60 years to drive the demand for single-use plastics by misleading and defrauding

the American public with the unfounded notion that plastics are recyclable.

                       V.       TOLLING OF THE STATUTE OF LIMITATIONS

           A.        Discovery-Rule Tolling

           156.      Within the period of any applicable statute of limitations, Plaintiffs could not have

discovered through the exercise of reasonable diligence that most plastics are not recyclable.


130
      https://www.plasticsindustry.org/sustainability


                                                       43
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       157.    Plaintiffs did not discover, and did not know of, facts that would have caused a

reasonable person to suspect that most plastics were not recyclable.

       B.      Fraudulent-Concealment Tolling

       158.    All applicable statutes of limitations have also been tolled by Defendants’

fraudulent concealment throughout the period relevant to this action that most plastics were not

recyclable.

       159.    Rather than disclosing to consumers the fact that only 15% of all plastics can be

recycled, Defendants continued to manufacture, market, distribute, and sell plastics as recyclable

and a better alternative to aluminum and glass.

                          VI.     CLASS ACTION ALLEGATIONS

       160.    Plaintiffs repeat and re-allege every allegation above as set forth above.

       161.    Nationwide Class: Pursuant to Federal Rule 23(b)(1) and (b)(2), Plaintiffs Billie

Rodriguez, Daniel Erwin, Michael Ackerman, Kyle Foreman, Drew Scruggs, Mary Jane

McQueeny, Emily Thorpe, Jennifer Tritt and the Board of County Commissioners of the County

of Ford bring this suit on their own behalf and on behalf of a proposed class of all other similarly

situated persons (“Nationwide Class”) consisting of:

               All persons, governmental, and non-governmental entities in the United
               States and its territories who indirectly purchased plastics for end use from
               January 1, 1990 until Defendants’ conduct ceases or class notice is given,
               whichever occurs first.

Excluded from the Class are:

               a.      The Defendants and their officers, directors, management, employees,
                       subsidiaries or affiliates;

               a.      The judges in this case and any members of their immediate families;

               b.      All persons who are presently in bankruptcy proceedings or who obtained a
                       bankruptcy discharge in the last three years;



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                 c.       All persons who are currently incarcerated; and

                 d.       The State of California and all cities, counties, and municipalities within.

        162.     State Law Class: Pursuant to Federal Rule 23(b)(3), Plaintiffs Billie Rodriguez,

Daniel Erwin, Michael Ackerman, Kyle Foreman, Drew Scruggs, Mary Jane McQueeny, Emily

Thorpe, Jennifer Tritt and the Board of County Commissioners of the County of Ford bring this

suit on their own behalf and on behalf of a proposed class of all other similarly situated persons

(“State Law Class”) consisting of:

                 All persons, governmental, and non-governmental entities in the Indirect
                 Purchaser states 131 who indirectly purchased plastics for end use from
                 January 1, 1990 until Defendants’ conduct ceases or class notice is given,
                 whichever occurs first.

Excluded from the Class are:

                 a.       The Defendants and their officers, directors, management, employees,
                          subsidiaries or affiliates;

                 b.       The judges in this case and any members of their immediate families;

                 c.       All persons who are presently in bankruptcy proceedings or who obtained a
                          bankruptcy discharge in the last three years;

                 d.       All persons who are currently incarcerated;

                 e.       The State of California and all cities, counties, and municipalities within.

        163.     Public Nuisance Class: Pursuant to Federal Rule 23(b)(2) and (3), Plaintiff The

Board of County Commissioners of the County of Ford brings this suit on its own behalf and on

behalf of a proposed class of all other similarly situated persons (“Public Nuisance Class”)

consisting of:



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   The Indirect Purchaser States include Arizona, Arkansas, California, Colorado, Connecticut, District of Columbia,
Florida, Hawaii, Illinois, Iowa, Kansas, Maine, Maryland, Massachusetts, Michigan, Minnesota, Mississippi,
Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, New York, North Carolina, North Dakota,
Oregon, Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, West Virginia, and Wisconsin.


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               All counties, cities, and municipalities located within the United States and
               its territories which have incurred and will continue to incur sanitation costs
               for plastic waste clean-up and disposal from January 1, 1990 until
               Defendants’ conduct ceases or until class notice is given, whichever occurs
               first (the “Class”).

Excluded from the Class are:

               a.     The Defendants and their officers, directors, management, employees,
                      subsidiaries or affiliates;

               b.     The judges in this case and any members of their immediate families; and

               c.     The State of California and all cities, counties, and municipalities within.

       164.    Upon information and belief, the Classes consists of millions of persons,

governmental, and non-governmental entities residing throughout the United States. Numerosity

is therefore satisfied, and it would be impracticable to join all Class Members before the Court.

       165.    Under Rule 23(b)(3), there are numerous and substantial questions of law or fact

common to all of the Class Members and which predominate over any individual issues. Included

within the common question of law or fact are:

               a.     Whether Defendants’ combined deceptive advertising regarding the
                      recyclable nature of plastics, has substantially affected interstate and
                      intrastate commerce;

               b.     Whether Defendants engaged in an agreement, combination or conspiracy
                      to artificially increase the demand for plastics to protect their profits;

               c.     The duration of this conspiracy or combination;

               d.     Whether the alleged conspiracy violated state antitrust and consumer
                      protection laws;

               e.     Whether Defendants’ deceptive advertising regarding the recyclable nature
                      of plastics, has substantially affected interstate and intrastate commerce;

               f.     Whether Defendants’ deceptive advertising regarding the recyclability of
                      plastics has increased the cost of waste disposal;

               g.     Whether Defendants negligently mispresented its product or pricing;




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               h.     Whether the Defendants’ conduct was an unreasonable interference with the
                      counties’ health and welfare;

               i.     Whether the conduct of Defendants caused injury to the Class;

               j.     The quantum of overcharges paid by the Class in the aggregate;

               k.     Whether Defendants negligently mispresented its product or pricing;

               l.     Whether Defendants were unjustly enriched by selling plastics at an inflated
                      price.

       166.    The claims of Plaintiffs are typical of the claims of Class Members, in that they

share the facts above and legal claims or questions with Class Members, there is a sufficient

relationship between the damage to Plaintiffs and Defendants’ conduct affecting Class Members,

and Plaintiffs have no interests adverse to the interests other Class Members.

       167.    Plaintiffs will fairly and adequately protect the interests of Class Members and have

retained counsel experienced and competent in the prosecution of complex class actions including

complex questions that arise in consumer protection litigation.

       168.    A class action is superior to other methods for the fair and efficient adjudication of

this controversy, since individual joinder of all Class Members is impracticable and no other group

method of adjudication of all claims asserted is more efficient and manageable for at least the

following reasons:

               a.     The liability claims presented in this case predominates over any questions
                      of law or fact, if any exists at all, affecting any individual member of the
                      Class;

               b.     Absent a Class, the Class Members will continue to suffer damage and
                      Defendants’ unlawful conduct will continue without remedy while
                      Defendants profit from and enjoy their ill-gotten gains;

               c.     Given the size of individual Class Members’ claims, few, if any, Class
                      Members could afford to or would seek legal redress individually for the
                      wrongs Defendants committed against them, and absent Class Members
                      have no substantial interest in individually controlling the prosecution of
                      individual actions;


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               d.      When the liability of Defendants has been adjudicated, claims of all Class
                       Members can be administered efficiently and/or determined uniformly by
                       the Court; and

               e.      This action presents no difficulty that would impede its management by the
                       Court as a class action, which is the best available means by which Plaintiff
                       and Class Members can seek redress for the harm caused to them by
                       Defendant.

       169.    Because Plaintiffs seek relief for the Classes as described above, the prosecution of

separate actions by individual Class Members would create a risk of inconsistent or varying

adjudications with respect to individual member of the Classes, which would establish

incompatible standards of conduct for Defendant.

       170.    Further, bringing individual claims would overburden the Courts and be an

inefficient method of resolving the dispute, which is the center of this litigation. Adjudications

with respect to individual Class Members would, as a practical matter, be dispositive of the interest

of other Class Members who are not parties to the adjudication and may impair or impede their

ability to protect their interests. As a consequence, class treatment is a superior method for

adjudication of the issues in this case.

                                  VII.      ANTITRUST INJURY

       171.    Plaintiffs repeat and re-allege every allegation above as set forth above.

       172.    Defendants’ anticompetitive conduct had the following effects, among others:

               a.      the demand for plastics was artificially increased;

               b.      price competition has been restrained or eliminated with respect to plastic;

               c.      purchasers of plastics have been deprived of free and open competition; and

               d.      purchasers of plastics, including Plaintiffs, paid artificially inflated prices.




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       173.    The purpose of Defendants’ conduct was to artificially increase the demand for

plastics to protect their profits. As a direct and foreseeable result, Plaintiffs and the Classes paid

supracompetitive prices for plastics during the Class Periods.

       174.    Through the alleged violations of antitrust laws, Plaintiffs and the Classes have

sustained injury to their business or property, purchasing more plastics than if they had known of

the true recyclability rates of plastics and paying higher prices for plastics than they would have

paid in the absence of Defendants’ illegal conduct, and have suffered damages as a result.

       175.    Plaintiffs paid higher prices for plastics that would have in the absence of

Defendants’ conduct.

       176.    This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.

                                  VIII. RELEVANT MARKET

       177.    The relevant product market for this action is plastics products for end use

consumption and the relevant geographic market is the United States and its territories.

                                  IX.     CLAIMS FOR RELIEF

A.     VIOLATIONS OF THE SHERMAN ACT

                                          COUNT 1
                               VIOLATION OF 15 U.S.C. § 1
                   (On Behalf of the Nationwide Class for Injunctive Relief)

       178.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       179.    From at least January 1, 1990, and continuing through the present, the exact dates

being unknown to Plaintiffs, Defendants and their co-conspirators entered into a continuing

agreement, understanding, and conspiracy in restraint of trade artificially to artificially increase the

demand for plastics in the United States, including by restraining their respective production

volumes, in violation of Section 1 of the Sherman Act (15 U.S.C. § 1).


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        180.    In formulating and carrying out the alleged agreement, understanding, and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including, but not limited to, the acts, practices, and course of conduct set forth

above, and to artificially increase the demand for plastics to protect their profits.

        181.    The combination and conspiracy alleged has had at least the following effects:

                a.      The demand for plastics was artificially increased;

                b.      Price competition in the sale of plastics has been restrained, suppressed,
                        and/or eliminated in the United States; and

                c.      Those who purchased plastics indirectly from Defendants and their co-
                        conspirators for their personal use have been deprived of the benefits of free
                        and open competition and paid artificially high prices for plastics.

        182.    Plaintiffs and Class Members have been injured and will continue to be injured in

their businesses and property by paying more for plastics purchased indirectly from Defendants

and their co-conspirators for their personal use than they would have paid and will pay in the

absence of the combination and conspiracy.

        183.    Plaintiffs and Class Members are entitled to an injunction against Defendants,

preventing and restraining the violations alleged.

        184.    Plaintiffs and the Nationwide Class, pursuant to Fed. R. Civ. P. 57 and 28 U.S.C.

§ 2201(a), seek a declaratory judgment that Defendants’ conduct in seeking to prevent competition

as described violates § 1 of the Sherman Act (15 U.S.C. § 1).

B.      VIOLATIONS OF PUBLIC NUISANCE LAWS

                                           COUNT 2
                                    PUBLIC NUISANCE
                            (On Behalf of the Public Nuisance Class)

        205.    Plaintiffs repeat and re-allege each and every allegation set forth above.

        206.    Defendants created, exacerbated, and maintained a public nuisance by increasing



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plastic waste which proximately caused injury to Plaintiffs.

       207.    A public nuisance is an unreasonable interference with a right common to the

general public. Defendants conduct has created, contributed to, and maintained an ongoing,

significant, unlawful, and unreasonable interference with rights common to the general public,

including the public health, welfare, safety, peace, comfort, and convenience of Plaintiffs’

communities. See Restatement (Second) of Torts § 821B.

       208.    Defendants have created, contributed to, and maintained a public nuisance by

deceptively advertising and marketing that plastics were recyclable when in reality less than 10%

of Plastics are recycled. This deceptive advertising caused various agencies not to ban Plastics,

artificially increased the demand for Plastics and increased the amount of Plastics waste that

counties have had to dispose of. This conduct has unreasonably interfered with the public health,

welfare, and safety in Plaintiffs’ communities. Plaintiffs have a common right to be free from such

conduct and to be free from conduct that creates a disturbance and reasonable apprehension of

danger to person and property.

       209.    The interference is unreasonable because Defendants nuisance-creating conduct:

               a.   Involves a significant interference with the public health, the public safety,
                    the public peace, the public comfort, and/or the public convenience;

               b.   Was and is proscribed by state laws and regulations at all relevant times;
                    and/or

               c.   Is of a continuing nature and, as Defendants know, has had and continues to
                    have a significant effect upon rights common to the general public, including
                    the public health, the public safety, the public peace, the public comfort,
                    and/or the public convenience.

       210.    The significant interference with rights common to the general public is described

in detail throughout this Complaint.

       211.    Defendants are liable for creating, contributing to, and maintaining the public



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nuisance because their intentional, knowing, reckless, and unreasonable and/or unlawful conduct

was a substantial factor in producing the public nuisance and harm to Plaintiffs.

       212.    Defendants had control over its conduct in Plaintiffs’ communities and that conduct

has had an adverse effect on rights common to the general public. Defendants have controlled the

dissemination of information regarding the recyclability of Plastics to consumers for years.

       213.    It was reasonably foreseeable that Defendant’s actions and omissions would result

in the public nuisance and harm to Plaintiffs described here.

       214.    The externalized risks associated with Defendants nuisance-creating conduct as

described here greatly exceed the internalized benefits.

       215.    The nuisance created by Defendants conduct is abatable.

       216.    As a direct and proximate result of Defendants’ tortious conduct and the public

nuisance created by Defendant, Plaintiffs have been damaged.

C.     VIOLATIONS OF STATE CONSUMER PROTECTION LAWS

       217.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       218.    As alleged throughout this Class Action Complaint, Exxon Mobil Corporation,

Chevron USA, Inc., Chevron Philips Chemical Corporation, Celanese Corporation, Dow Inc.,

Dow Chemical Company, Dupont de Nemours, Inc., Dupont Corporation, Eastman Chemical

Company, LyondellBasell Industries N.V., and American Chemical Counsel engaged in unfair

methods of competition; unfair or deceptive acts or practices; and/or unconscionable acts or

practices in violation of the following state consumer protection laws by taking the following

actions, including but not limited to:

               a.      making fraudulent, deceptive, and material misrepresentations about the
                       recyclability of plastics sold in the United States;

               b.      not disclosing that less than 10% of plastic products are recycled;



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               c.     exploiting the perceived recyclability of plastics to artificially increased
                      demand and therefore prices of plastic.

        219.   As a result of Defendants’ practices, Plaintiffs and the class members have suffered

damages and are entitled to recover those damages and costs, including reasonable attorneys’ fees.

        220.   Plaintiffs and the Class are also entitled to an injunction to stop Defendants

continued deceptive and unconscionable practices of advertising and selling plastics as recyclable.

        221.   By engaging in the conduct set forth throughout this Class Action Complaint,

Defendants have engaged in unfair competition and unfair or deceptive acts or practices or

unconscionable practices in violation of the following state consumer protection statutes:

                                    COUNT 3
       VIOLATIONS OF THE ARKANSAS DECEPTIVE TRADE PRACTICES ACT
                       (Ark. Code Ann. § 4-88-101, et seq.)
                        (On Behalf of the State Law Class)

        222.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        223.   Through the conduct alleged, Defendants have violated ARK. CODE § 4-88-101 et

seq.

        224.   Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of trade or commerce in the plastics market, a substantial part of which

occurred within Arkansas.

        225.   Defendants’ unlawful conduct substantially affected Arkansas’ trade and

commerce.

        226.   Defendants concealed, suppressed, and omitted to disclose material facts to

members of the Arkansas Class concerning Defendants’ unlawful activities and artificially inflated

prices for plastics. They concealed, suppressed, and omitted facts would have been important to

members of the Arkansas Class as they related to the cost of products they purchased.




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       227.    Defendants misrepresented the real cause of price increases and/or the absence of

price reductions in plastics by making public statements that were not in accord with the facts.

       228.    Defendants’ statements and conduct related to the price of their products were

deceptive as they had the tendency or capacity to mislead members of State Law Class to believe

that they were purchasing at prices established by a free and fair market.

       229.    The aforementioned conduct by Defendants constituted “unconscionable” and

“deceptive” acts or practices in violation of ARK. CODE § 4-88-107(a)(10).

       230.    As a direct and proximate result of Defendants’ unlawful conduct, members of the

State Law Class have been injured in their business or property and are threatened with further

injury in that they paid and will pay supra-competitive prices for plastics due to Defendants’

unlawful conduct.

       231.    Accordingly, members of the State Law Class seek all relief available under the

Arkansas Deceptive Trade Practices Act.

                                    COUNT 4
         VIOLATIONS OF THE CALIFORNIA UNFAIR COMPETITION LAW
                     (Cal. Bus. & Prof. Code § 17200, et seq.)
                       (On Behalf of the State Law Class)

       232.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       233.    Plaintiffs bring this Count on behalf of all Class Members who are or have been

residents of California at any relevant time (“California Class Members”) against Exxon Mobil

Corporation, Chevron USA, Inc., Chevron Philips Chemical Corporation, Celanese Corporation,

Dow Inc., Dow Chemical Company, Dupont de Nemours, Inc., Dupont Corporation, Eastman

Chemical Company, LyondellBasell Industries N.V., and American Chemical Council.

       234.    CAL. BUS. & PROF. CODE § 17200 prohibits any “unlawful, unfair, or fraudulent

business act or practices.”



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         235.   As alleged throughout this Class Action Complaint, Defendants engaged in unfair,

deceptive, and/or unlawful practices in violation of California’s Unfair Competition law by, at a

minimum: (a) making material misrepresentations about the recyclability of plastics; and (b)

causing confusion or misunderstanding regarding the recyclability of plastics.

         236.   As indicated by the below statements of California and federal policy, Defendants’

grossly excessive and unfair plastics pricing violates public policy and is, as such, unlawful under

CAL. BUS. & PROF. CODE § 17200.

         237.   Defendants’ unfair, unlawful and/or deceptive activity alleged caused Plaintiffs and

the California Class Members to purchase plastics at inflated prices. Accordingly, Plaintiffs and

the California Class Members have suffered injury in fact including lost money or property as a

result of Defendants’ misrepresentations and omissions.

         238.   Plaintiffs request that this Court enter such orders or judgments as may be necessary

to enjoin Defendants from continuing their unfair, unlawful, and/or deceptive practices and to

restore to Plaintiffs and Class Members any money Defendants acquired by unfair competition,

including restitution and/or restitutionary disgorgement, as provided in CAL. BUS. & PROF. CODE

§ 17203 and CAL. BUS. & PROF. CODE § 3345; and for such other relief set forth below.

                                    COUNT 5
       VIOLATION OF THE DISTRICT OF COLUMBIA CONSUMER PROTECTION
                     PROCEDURES (6 Del. Code § 2513, et seq.)
                        (On Behalf of the State Law Class)

         239.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

         240.   Plaintiffs and Class Members purchased plastics for personal, family, or household

purposes.

         241.   Through the conduct alleged, Defendants have violated D.C. CODE § 28-3901, et

seq.



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          242.   Defendants are “merchants” within the meaning of D.C. CODE § 28- 3901(a)(3).

          243.   Defendants’ conduct was an unfair method of competition, and an unfair or

deceptive act or practice within the conduct of commerce within the District of Columbia.

Defendants’ unlawful conduct substantially affected the District of Columbia’s trade and

commerce.

          244.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured in their business or property and are threatened with further

injury.

          245.   Because of the foregoing, Plaintiffs and Class Members are entitled to seek all

forms of relief, including treble damages or $1,500 per violation (whichever is greater) plus

punitive damages, reasonable attorney’s fees and costs under D.C. CODE § 28-3901, et seq.

                                 COUNT 6
  VIOLATIONS OF FLORIDA’S UNFAIR & DECEPTIVE TRADE PRACTICES ACT
                       (Fla. Stat. § 501.201, et seq.)
                    (On Behalf of the State Law Class)

          246.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          247.   The Florida Deceptive & Unfair Trade Practices Act, FLA. STAT. § 501.201, et seq.

(the “FDUTPA”), generally prohibits “unfair methods of competition, unconscionable acts or

practices, and unfair or deceptive acts or practices in the conduct of any trade or commerce,”

including practices in restraint of trade. FLA. STAT. § 501.204(1).

          248.   The primary policy of the FDUTPA is “[t]o protect the consuming public and

legitimate business enterprises from those who engage in unfair methods of competition, or

unconscionable, deceptive, or unfair acts or practices in the conduct of any trade or commerce.”

FLA. STAT. § 501.202(2).




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        249.   A claim for damages under the FDUTPA has three elements: (1) a prohibited

practice; (2) causation; and (3) actual damages.

        250.   Under Florida law, indirect purchasers have standing to maintain an action under

the FDUTPA based on the facts alleged in this complaint. See FLA. STAT. § 501.211(1) (“anyone

aggrieved by a violation of this [statute] may bring an action . . .”).

        251.   Plaintiffs and Class Members purchased plastics within the State of Florida during

the Class Period. But for Defendants’ conduct set forth, the price of plastics would have been

lower, in an amount to be determined at trial.

        252.   Defendants’ unlawful conduct substantially affected Florida’s trade and commerce.

        253.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

the Class Members have been injured in their business or property because of overcharges for

plastics and are threatened with further injury.

        254.   Because of the foregoing, Plaintiffs and the Class Members are entitled to seek all

forms of relief, including injunctive relief pursuant to FLA. STAT. § 501.208 and declaratory

judgment, actual damages, reasonable attorneys’ fees and costs pursuant to FLA. STAT. § 501.211.

                                   COUNT 7
      VIOLATION OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                     (Mass. Gen. Laws Ch. 93a, § 1, et seq.)
                       (On Behalf of the State Law Class)

        255.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        256.   Through the conduct alleged, including the violation of federal antitrust laws,

Defendants have violated the Massachusetts Consumer Protection Act, MASS. GEN. LAWS ch. 93A

§ 2, et seq.




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          257.   Plaintiffs and Class Members purchased plastics within the Commonwealth of

Massachusetts during the Class Period. But for Defendants’ conduct set forth, the price paid would

have been lower, in an amount to be determined at trial.

          258.   Defendants’ conduct was an unfair method of competition, and an unfair or

deceptive act or practice within the conduct of commerce within the Commonwealth of

Massachusetts.

          259.   Defendants’ unlawful conduct substantially affected Massachusetts’ trade and

commerce.

          260.   Plaintiffs and Class Members purchased plastics, primarily for personal, family, or

household purposes.

          261.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured in their business or property and are threatened with further

injury.

          262.   Because of the foregoing, Plaintiffs and Class Members are entitled to seek all

forms of relief, including up to treble damages and reasonable attorney’s fees and costs under

MASS. GEN. LAWS ch. 93A § 9.

                                      COUNT 8
             VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES
                       (ACT, MO. ANN. STAT. § 407-010, ET SEQ.)
                          (On Behalf of the State Law Class)

          263.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          264.   Chapter 407 of the Missouri Merchandising Practices Act (the “MMPA”) governs

unlawful business practices, including antitrust violations such as restraints of trade and

monopolization. MO. REV. STAT. § 407.020 prohibits “the act, use or employment by any person

of any deception, fraud, false pretense, false promise, misrepresentation, unfair practice or the



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concealment, suppression, or omission of any material fact in connection with the sale or

advertisement of any merchandise in trade or commerce…,” as further interpreted by the Missouri

Code of State Regulations, 15 CSR 60-7.010, et seq., 15 CSR 60-8.010, et seq., and 15 CSR 60-

9.010, et seq., and MO. REV. STAT. § 407.025, which provides for the relief sought in this count.

       265.    The Defendants concealed, suppressed, and omitted to disclose material facts to

Plaintiffs and members of the Damages Class concerning its unlawful activities and artificially

inflated prices for plastics. It concealed, suppressed, and omitted facts that would have been

important to Plaintiffs and members of the State Law Class as they related to the cost of plastics

they purchased.

       266.    The Defendants misrepresented the real cause of price increases and/or the absence

of price reductions in plastics by making public statements that were not in accord with the facts.

       267.    The Defendants’ statements and conduct related to the price of plastics were

deceptive as they had the tendency or capacity to mislead Plaintiffs and members of the State Law

Class to believe that they were purchasing plastics at prices established by a free and fair market.

       268.    Plaintiffs and Class Members purchased plastics for end use within the State of

Missouri during the Class Period. But for Defendants’ conduct set forth, the price of plastics would

have been lower, in an amount to be determined at trial.

       269.    Under Missouri law, indirect purchasers have standing to maintain an action under

the MMPA based on the facts alleged in this Complaint. Gibbons v. J. Nuckolls, Inc., 216 S.W.3d

667, 669 (Mo. 2007).

       270.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Missouri and are entitled to all forms of relief, including actual damages or liquidated damages in




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an amount which bears a reasonable relation to the actual damages which have been sustained, as

well as reasonable attorneys’ fees, costs, and injunctive relief.

                                  COUNT 9
 VIOLATION OF THE MONTANA UNFAIR TRADE PRACTICES AND CONSUMER
                       PROTECT ION ACT OF 1970,
            (Mont. Code § 30-14-103, et seq. and § 30-14-201, et seq.)
                      (On Behalf of the State Law Class)

        271.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        272.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Montana Unfair Trade Practices and Consumer

Protection Act of 1970, MONT. CODE, §§ 30-14-103, et seq., and 30-14-201, et seq.

        273.    Defendants’ unlawful conduct had the following effects: (1) the demand for plastics

was artificially increased throughout Montana; (2) Plaintiffs and Class Members were deprived of

free and open competition; and (3) Plaintiffs and Class Members paid supracompetitive, artificially

inflated prices for plastics.

        274.    Plaintiffs and Class Members purchased plastics, primarily for personal, family, or

household purposes.

        275.    During the Class Period, Defendants’ illegal conduct substantially affected

Montana commerce and consumers.

        276.    As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured and are threatened with further injury. Defendants have engaged

in unfair competition or unfair or deceptive acts or practices in violation of MONT. CODE, §§ 30

14-103, et seq., and 30-14-201, et seq., and, accordingly, Plaintiffs and Class Members seek all

relief available under that statute.




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                                     COUNT 10
            VIOLATION OF THE NEBRASKA CONSUMER PROTECTION ACT
                          (Neb. Rev. Stat. § 59-1602, et seq.)
                          (On Behalf of the State Law Class)

          277.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          278.   Through the conduct alleged, Defendants have violated NEB. REV. STAT. § 59-1602,

et seq.

          279.   Under Nebraska law, indirect purchasers have standing to maintain an action under

the Nebraska Consumer Protection Act based on the facts alleged in this Complaint. See NEB. REV.

STAT. § 59-1609. Defendants’ conduct had a direct or indirect impact upon Plaintiffs’ and Class

Members’s ability to protect themselves.

          280.   Defendants’ unlawful conduct substantially affected Nebraska’s trade and

commerce.

          281.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

the Class Members have been injured in their business or property and are threatened with further

injury.

          282.   Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Nebraska.

          283.   Because of the foregoing, Plaintiffs and Class Members seek all relief available

under the statute, NEB. REV. STAT. § 59-1601, et seq.

                                     COUNT 11
          VIOLATIONS OF THE NEVADA DECEPTIVE TRADE PRACTICES ACT
                         (Nev. Rev. Stat. § 598.0903, et seq.)
                         (On Behalf of the State Law Class)

          284.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          285.   Through the conduct alleged, Defendants have violated NEV. REV. STAT.

§ 598.0903, et seq.


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          286.   Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of Nevada.

          287.   Defendants’ conduct amounted to a fraudulent act or practice committed by a

supplier in connection with a consumer transaction.

          288.   Defendants’ unlawful conduct substantially affected Nevada’s trade and

commerce.

          289.   Defendants’ conduct was willful.

          290.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured in their business or property and are threatened with further

injury.

          291.   Because of the foregoing, Plaintiffs and Class Members is entitled to seek all forms

of relief, including damages, reasonable attorneys’ fees and costs, and a civil penalty of up to

$5,000 per violation under NEV. REV. STAT. § 598.0993.

                                     COUNT 12
          VIOLATIONS OF NEW HAMPSHIRE CONSUMER PROTECTION ACT
                       (N.H. Rev. Stat. Ann. § 358-a:1, et seq.)
                         (On Behalf of the State Law Class)

          292.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          293.   Through the conduct alleged, Defendants have violated N.H. REV. STAT. tit. XXXI,

§ 358-A:1, et seq.

          294.   Under New Hampshire law, indirect purchasers have standing to maintain an action

under the New Hampshire Consumer Protection Act based on the facts alleged in this Complaint.

See LaChance v. U.S. Smokeless Tobacco Co., 156 N.H. 88, 92-100 (2007).

          295.   Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of New Hampshire.



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          296.   Defendants’ conduct was willful and knowing.

          297.   Defendants’ conduct had a direct or indirect impact upon Plaintiffs’ and Class

Members’s ability to protect themselves.

          298.   Defendants’ unlawful conduct substantially affected New Hampshire’s trade and

commerce.

          299.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

the Class Members have been injured in their business or property and are threatened with further

injury.

          300.   Because of the foregoing, Plaintiffs and the Class Members are entitled to seek all

forms of relief available under N.H. REV. STAT §§ 358-A:10 and 358-A:10-a.

                                     COUNT 13
          VIOLATIONS OF THE NEW MEXICO UNFAIR TRADE PRACTICES ACT
                         (N.M. Stat. Ann. §§ 57-12-1, et seq.)
                         (On Behalf of the State Law Class)

          301.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          302.   Through the conduct alleged, Defendants have violated N.M. STAT. § 57-12-3, et

seq.

          303.   Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of New Mexico.

          304.   Defendants’ unlawful conduct substantially affected New Mexico’s trade and

commerce.

          305.   Defendants’ conduct constituted “unconscionable trade practices” in that such

conduct, inter alia, resulted in a gross disparity between the value received by Plaintiffs and Class

Members and the price paid by them for Defendants’ oil as set forth in N.M. STAT. § 57-12-2E.

          306.   Defendants’ conduct was willful.



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          307.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

the Class Members have been injured in their business or property and are threatened with further

injury.

          308.   Because of the foregoing, Plaintiffs and Class Members are entitled to seek all

forms of relief, including actual damages or up to $300 per violation, whichever is greater, plus

reasonable attorney’s fees under N.M. STAT. § 57-12-10.

                                 COUNT 14
   VIOLATIONS OF THE NORTH CAROLINA UNFAIR AND DECEPTIVE TRADE
                             PRACTICES ACT
                      (N.C. Gen. Stat. §§ 75-1.1, et seq.)
                     (On Behalf of the State Law Class)

          309.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          310.   Through the conduct alleged, Defendants have violated N.C. GEN. STAT. § 75-1.1,

et seq. Under North Carolina law, indirect purchasers have standing to maintain an action based

on the facts alleged in this Complaint. See Hyde v. Abbott Labs., Inc., 123 N.C. App. 572, 584

(1996).

          311.   Defendants’ conduct was unfair, unconscionable, or deceptive within the conduct

of commerce within the State of North Carolina.

          312.   Defendants’ trade practices are and have been immoral, unethical, unscrupulous,

and substantially injurious to consumers.

          313.   Defendants’ unlawful conduct substantially affected North Carolina’s trade and

commerce.

          314.   Defendants’ conduct constitutes consumer-oriented deceptive acts or practices

within the meaning of North Carolina law, which resulted in consumer injury and broad adverse

impact on the public at large and harmed the public interest of North Carolina consumers in an

honest marketplace in which economic activity is conducted in a competitive manner.


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          315.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured in their business or property and are threatened with further

injury.

          316.   Because of the foregoing, Plaintiffs and the Class Members are entitled to seek all

forms of relief, including treble damages under N.C. GEN. STAT. § 75-16.

                                 COUNT 15
   VIOLATIONS OF THE RHODE ISLAND DECEPTIVE TRADE PRACTICES ACT
                     (R. I. Gen. Laws § 6-13-1.1, et seq.)
                     (On Behalf of the State Law Class)

          317.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          318.   Through the conduct alleged, Defendants have violated R.I. GEN. LAWS § 6-13.1-

1, et seq.

          319.   Defendants engaged in an unfair or deceptive act or practice with the intent to injure

competitors and consumers through supra-competitive profits.

          320.   Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of Rhode Island.

          321.   Defendants’ conduct amounted to an unfair or deceptive act or practice committed

by a supplier in connection with a consumer transaction.

          322.   Defendants’ unlawful conduct substantially affected Rhode Island’s trade and

commerce.

          323.   Defendants’ conduct was willful.

          324.   Plaintiffs and Class Members purchased goods plastics, primarily for personal,

family, or household purposes.




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          325.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured in their business or property and are threatened with further

injury.

          326.   Because of the foregoing, Plaintiffs and Class Members are entitled to seek all

forms of relief, including actual damages or $200 per violation, whichever is greater, and

injunctive relief and punitive damages under R.I. GEN. LAWS § 6-13.1-5.2.

                                COUNT 16
   VIOLATIONS OF THE SOUTH CAROLINA UNFAIR TRADE PRACTICES ACT
                     (S.C. Code Ann. § 39-5-10, et seq.)
                     (On Behalf of the State Law Class)

          327.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          328.   Through the conduct alleged, Defendants have violated S.C. CODE ANN. § 39-5-10,

et seq.

          329.   Defendants’ conduct was unfair or deceptive within the conduct of commerce

within the State of South Carolina. Defendants’ conduct had a direct or indirect impact upon

Plaintiffs’ and Class Members’s ability to protect themselves.

          330.   Defendants’ unlawful conduct substantially affected South Carolina trade and

commerce.

          331.   As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

members of the Damages Class have been injured in their business and property and are threatened

with further injury.

          332.   The Defendants have engaged in unfair competition or unfair or deceptive acts or

practices in violation of S.C. CODE ANN. §§ 39-5-10, et seq., and, accordingly, Plaintiffs and the

members of the State Law Class seek all relief available under that statute.




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                                         COUNT 17
                 VIOLATIONS OF VERMONT CONSUMER PROTECTION ACT
                            (Vt. Stat. Ann. Tit. 9, § 2451 et seq.)
                             (On Behalf of the State Law Class)

          333.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          334.    Through the conduct alleged, Defendants have violated VT. STAT. ANN. tit. 9, §

2451, et seq.

          335.    Title 9 of the Vermont Statutes generally governs commerce and trade in Vermont.

Chapter 63 thereof governs consumer protection and prohibits, among other things, unfair methods

competition, unfair and deceptive acts and practices, and antitrust violations such as restraints of

trade and monopolization. See VT. STAT. ANN. tit. 9, § 2453(a).

          336.    Plaintiffs and Class Members purchased plastics within the State of Vermont during

the Class Period. But for Defendants’ conduct set forth, the price of plastics would have been

lower, in an amount to be determined at trial.

          337.    Under Vermont law, indirect purchasers have standing under the antitrust

provisions of the Vermont Statutes to maintain an action based on the facts alleged in this

complaint. VT. STAT. ANN. TIT. 9, § 2465(b); see also Elkins v. Microsoft Corp., 174 Vt. 328, 341

(2002).

          338.    Defendants competed unfairly by restraining trade as set forth, in violation of VT.

STAT. tit. 9, § 2453, et seq.

          339.    Defendants’ violations of Vermont law were flagrant.

          340.    Defendants’ conduct caused or was intended to cause unfair methods of

competition within the State of Vermont.

          341.    Defendants’ unlawful conduct substantially affected Vermont’s trade and

commerce.



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          342.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

the Class Members have been injured in their business or property and are threatened with further

injury.

          343.   Plaintiffs and Class Members were injured with respect to purchases of plastics in

Vermont and are entitled to all forms of relief, including actual damages, treble damages, and

reasonable attorneys’ fees.

D.        VIOLATIONS OF STATE ANTITRUST LAWS

          344.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          345.   During the Class Period, Defendants and their co-conspirators entered and engaged

in a contract, combination, or conspiracy to artificially increase the demand for plastics to protect

their profits, the production of plastics in various states to unreasonably restrain trade and

commerce and harm consumers in violation of the various state antitrust and consumer protection

laws set forth below.

          346.   In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including: agreeing

to artificially increase the demand for plastics, which injured Plaintiffs and Class Members;

exchange of competitively sensitive information between and among Defendants; and

participating in meetings conversations among themselves in the United States and elsewhere to

implement, adhere to, and police the unlawful agreements they reached.

          347.   Defendants and their co-conspirators engaged in the actions described above for the

purpose of carrying out their unlawful agreements to artificially increase the demand for plastics

to protect their profits. As a direct and proximate result of Defendants’ conduct, Plaintiffs and

Class Members were deprived of free and open competition and paid more to purchase plastics

than they otherwise would have absent Defendants’ unlawful conduct. This injury is of the type


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that the antitrust and consumer protection laws of the below states were designed to prevent and

flows from what makes Defendants’ conduct unlawful.

       348.     Defendants have also profited significantly from the conspiracy. Defendants’

profits derived from their anticompetitive conduct and come at the expense of and to the detriment

of Plaintiffs and Class Members.

       349.     Accordingly, Plaintiffs and the members of the State Law Class in each of the

following jurisdictions seek damages (including statutory damages where applicable), to be trebled

or otherwise increased as permitted by each jurisdiction’s law, injunction (where applicable), and

costs of suit, including reasonable attorneys’ fees, as allowed by the following state laws.

       350.     Defendants’ anticompetitive acts described above were knowing and willful and

constitute violations of the following state antitrust and consumer protection statutes.

       351.     In the Counts that follow, a reference to the “Class” is a reference to the State Law

Class unless otherwise specified.

                                    COUNT 18
           VIOLATION OF ARIZONA’S UNIFORM STATE ANTITRUST ACT,
                        (ARIZ. REV. STAT. § 44-401, ET SEQ.)
                         (On Behalf of the State Law Class)

       352.     Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       353.     Through the conduct alleged, Defendants have violated ARIZ. REV. STAT. § 44-

1401, et seq.

       354.     Under Arizona law, indirect purchasers have standing to maintain an action under

the Antitrust Act based on the facts alleged in this Complaint. Bunker’s Glass Co. v. Pilkington

PLC, 206 Ariz. 9, 11-20 (2003).

       355.     Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of the plastics market, a substantial part occurred within Arizona.



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          356.   Defendants’ violations of Arizona law were flagrant.

          357.   Defendants’ unlawful conduct substantially affected Arizona’s trade and commerce

(plastics).

          358.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured in their business or property and are threatened with further

injury.

          359.   Because of the foregoing, Plaintiffs and Class Members are entitled to seek all

forms of relief available under ARIZ. REV. STAT § 44-1401, et seq.

                                       COUNT 19
                   VIOLATION OF CALIFORNIA’S CARTWRIGHT ACT,
                         (CAL. BUS. & PROF. CODE § 16700 ET SEQ.)
                            (On Behalf of the State Law Class)

          360.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          361.   The California Business & Professions Code generally governs conduct of

corporate entities. The Cartwright Act, CAL. BUS. & PROF. CODE §§ 16700-16770, governs

antitrust violations in California.

          362.   Under the Cartwright Act, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. CAL. BUS. & PROF. CODE § 16750(a).

          363.   A trust in California is any combination of capital, skills or acts by two or more

persons intended for various purposes, including, but not limited to, creating or carrying out

restrictions in trade or commerce, limiting or reducing the production or increasing the price of

any commodity, or preventing competition in the market for a commodity. CAL. BUS. & PROF.

CODE § 16720. Every trust in California is unlawful except as provided by the Code. Id. § 16726.




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       364.      Defendants entered into a contract, combination, or conspiracy between two or

more persons in restraint of the plastics market, a substantial part of which occurred within

California.

       365.      Defendants enacted a combination of capital, skill or acts for the purpose of creating

and carrying out restrictions in trade or commerce, in violation of CAL. BUS. & PROF. CODE §

16700, et seq.

       366.      Plaintiffs and Class Members purchased plastics within the State of California

during the Class Period. But for Defendant’s conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       367.      Plaintiffs and Class Members were with respect to purchases of plastics in

California and are entitled to all forms of relief, including recovery of treble damages, interest, and

injunctive relief, plus reasonable attorneys’ fees and costs.

                                       COUNT 20
                    VIOLATION OF THE COLORADO ANTITRUST ACT,
                         (COLO. REV. STAT. ANN. § 6-4-101, ET SEQ.)
                            (On Behalf of the State Law Class)

       368.      Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       369.      Plaintiffs and Class Members purchased Defendants’ plastics within Colorado

during the Class Period. But for Defendants’ conduct set forth, the price of Defendants’ plastic

would have been lower, in an amount to be determined at trial.

       370.      The Colorado State Antitrust Act of 2023 specifically allows a private act of

recovery for “[a]ny person injured, either directly or indirectly” from violations Colorado antitrust

law for actual damages. See C.R.S. § 6-4-115 (emphasis added).

       371.      Defendants contracted, combined or conspired to act in restraint of trade within

Colorado in violation of C.R.S. § 6-4-101, et seq.



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        372.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Colorado and are entitled to all forms of relief, including actual damages, treble damages, as well

as interest and reasonable attorneys’ fees and costs. C.R.S. § 6-4-115.

                                     COUNT 21
                 VIOLATION OF THE CONNECTICUT ANTITRUST ACT,
                        (CONN. GEN. STAT. ANN § 35-24, ET SEQ.)
                          (On Behalf of the State Law Class)

        373.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        374.    Plaintiffs and Class Members purchased Defendants’ plastics within Connecticut

during the Class Period. But for Defendants’ conduct set forth, the price of Defendants’ plastics

would have been lower, in an amount to be determined at trial.

        375.    The Connecticut Antitrust specifically allows a private act of recovery for indirect

purchasers by prohibiting a defendant from “assert[ing] a defense that the defendant did not deal

directly with the person on whose behalf the action is brought.” See C.G.S.A. § 35-46a.

        376.    Defendants contracted, combined, or conspired to act in restraint of trade within

Connecticut in violation C.G.S.A. § 35-24, et seq. Defendants’ conducts and conspiracies

restrained, suppressed, and eliminated the price competitive for plastics; artificially increased the

demand for plastics, while depriving Plaintiffs and Class Members of free and open competition.

These acts resulted in Plaintiffs and Class Members paying supracompetitive, artificially inflated

prices for plastics.

        377.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Connecticut and are entitled to all forms of relief, including actual damages, treble damages, as

well as interest and reasonable attorneys’ fees and costs.




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                                    COUNT 22
              VIOLATION OF DISTRICT OF COLUMBIA ANTITRUST ACT,
                           (D.C. CODE § 28-4501, ET SEQ.)
                         (On Behalf of the State Law Class)

       378.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       379.    Plaintiffs and Class Members purchased Defendants’ plastics within the District of

Columbia during the Class Period. But for Defendants’ conduct set forth, the price of Defendants’

plastics would have been lower, in an amount to be determined at trial.

       380.    Under District of Columbia law, indirect purchasers have standing to maintain an

action under the antitrust provisions of the D.C. Code because “[a]ny indirect purchaser in the

chain of manufacture, production or distribution of goods or services . . . shall be deemed to be

injured within the meaning of this chapter.” D.C. CODE § 28-4509(a).

       381.    Defendants contracted, combined or conspired to act in restraint of trade within the

District of Columbia in violation of D.C. CODE § 28-4501, et seq.

       382.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

the District of Columbia and are entitled to all forms of relief, including actual damages, treble

damages, as well as interest and reasonable attorneys’ fees and costs.

                                       COUNT 23
                       VIOLATION OF HAWAII ANTITRUST ACT,
                          (HAW. REV. STAT. ANN § 480-1, ET SEQ.)
                            (On Behalf of the State Law Class)

       383.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       384.    Plaintiffs and Class Members purchased plastics within Hawaii during the Class

Period. But for Defendants’ conduct set forth, the price of plastics would have been lower, in an

amount to be determined at trial.

       385.    The Hawaii Antitrust Act specifically allows a private act of recovery for indirect

purchasers. See HRS § 480-13.3.


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       386.    Defendants contracted, combined, or conspired to act in restraint of trade within

Connecticut in violation of H.S.R. § 480-1, et seq.

       387.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Hawaii and are entitled to all forms of relief, including actual damages, as well as interest and

reasonable attorneys’ fees and costs.

                                         COUNT 24
                       VIOLATION OF ILLINOIS ANTITRUST ACT,
                         (740 ILL. COMP. STAT. ANN. 10/3(1), ET SEQ.)
                             (On Behalf of the State Law Class)

       388.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       389.    Plaintiffs and Class Members purchased Defendants’ plastics within the State of

Illinois during the Class Period. But for Defendants’ conduct set forth, the price of Defendants’

plastics would have been lower, in an amount to be determined at trial.

       390.    Under the Illinois Antitrust Act, indirect purchasers have standing to maintain an

action for damages based on the facts alleged in this complaint. 740 ILL. COMP. STAT. ANN.10/7(2).

       391.    Defendants entered into contracts or engaged in a combination or conspiracy to

artificially increase the demand for plastics sold within the State of Illinois.

       392.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Illinois and are entitled to all forms of relief, including actual damages, treble damages, and

reasonable attorneys’ fees and costs.

                                       COUNT 25
                       VIOLATION OF IOWA COMPETITION LAW,
                              (IOWA CODE § 553.1, ET SEQ.)
                            (On Behalf of the State Law Class)

       393.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.




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       394.    Under Iowa law, indirect purchasers have standing to maintain an action under the

Iowa Competition Law based on the facts alleged in this Complaint. Comes v. Microsoft Corp.,

646 N.W.2d 440, 449-51 (Iowa 2002).

       395.    Plaintiffs and Class Members purchased Defendants’ plastics within the State of

Iowa during the Class Period. But for Defendants’ conduct set forth, the price of Defendants’

plastics would have been lower, in an amount to be determined at trial.

       396.    Defendants contracted, combined or conspired to restrain trade in the plastics

market, in violation of IOWA CODE § 553.1, et seq.

       397.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Iowa, and are entitled to all forms of relief, including actual damages, exemplary damages for

willful conduct, reasonable attorneys’ fees and costs, and injunctive relief.

                                    COUNT 26
                 VIOLATION OF KANSAS RESTRAINT OF TRADE ACT,
                         (KAN. STAT. ANN. § 50-101, ET SEQ.)
                         (On Behalf of the State Law Class)

       398.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       399.    The Kansas Restraint of Trade Act aims to prohibit practices which, among other

things, “tend to prevent full and free competition in the importation, transportation or sale of

articles imported into this state . . . .” KAN. STAT. ANN. § 50-112.

       400.    Plaintiffs and Class Members purchased plastics within the State of Kansas during

the Class Period.

       401.    But for Defendants’ conduct set forth, the price of plastics would have been lower,

in an amount to be determined at trial.

       402.    Under the Kansas Restraint of Trade Act, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. KAN. STAT. ANN. § 50-161(b).



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       403.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Kansas and are entitled to all forms of relief, including actual damages, reasonable attorneys’ fees

and costs, and injunctive relief.

                                       COUNT 27
                    VIOLATION OF MAINE’S ANTITRUST STATUTE,
                       (ME. REV. STAT. ANN. TIT. 10 § 1101, ET SEQ.)
                            (On Behalf of the State Law Class)

       404.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       405.    Plaintiffs and Class Members purchased plastics within the State of Maine during

the Class Period. But for Defendants’ conduct set forth, the price of plastics would have been

lower, in an amount to be determined at trial.

       406.    Under Maine law, indirect purchasers have standing to maintain an action based on

the facts alleged in this Complaint. ME. REV. STAT. ANN. tit. 10, § 1104(1).

       407.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Maine and are entitled to all forms of relief, including actual damages, treble damages, and

reasonable attorneys’ and experts’ fees and costs.

                                     COUNT 28
                 VIOLATION OF MARYLAND’S ANTITRUST STATUTE,
                          (MD. CODE ANN. § 11-201, ET SEQ.)
                          (On Behalf of the State Law Class)

       408.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       409.    The purpose of Maryland’s antitrust statute is “to complement the body of federal

law governing restraints of trade, unfair competition, and unfair, deceptive, and fraudulent acts or

practices.” MD. CODE ANN. § 11-202(a)(1).

       410.    Under Maryland law, indirect purchasers have standing to maintain an action based

on the facts alleged in this Complaint. MD. CODE ANN. § 11-209(b)(2)(i).




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        411.    Under Maryland’s antitrust statute, a plaintiff who establishes a violation is entitled

to recover three times the amount of actual damages resulting from the violation, along with costs

and reasonably attorneys’ fees. MD. CODE ANN. § 209(b)(4).

        412.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Maryland and are entitled to all forms of relief, including actual damages, treble damages, and

reasonable attorneys’ and experts’ fees and costs.

                                      COUNT 29
               VIOLATION OF THE MICHIGAN ANTITRUST REFORM ACT,
                         (MICH. COMP. LAWS § 445.771, ET SEQ.)
                           (On Behalf of the State Law Class)

        413.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        414.    The Michigan Antitrust Reform Act aims “to prohibit contracts, combinations, and

conspiracies in restraint of trade or commerce . . . [and] to provide remedies, fines, and penalties

for violations of this act.” Mich. Act 274 of 1984 (MICH. COMP. LAWS § 445.771, et seq.).

        415.    Plaintiffs and Class Members purchased Defendants’ plastics within the State of

Michigan during the Class Period. But for Defendants’ conduct set forth, the price of plastics

would have been lower, in an amount to be determined at trial.

        416.    Under the Michigan Antitrust Reform Act, indirect purchasers have standing to

maintain an action based on the facts alleged in this complaint. MICH. COMP. LAWS § 445.778(2).

        417.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Michigan and are entitled to all forms of relief, including actual damages, treble damages for

flagrant violations, interest, costs, reasonable attorneys’ fees, and injunctive or other appropriate

equitable relief.




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                                        COUNT 30
                  VIOLATION OF THE MINNESOTA ANTITRUST LAW,
                     (MINN. STAT. §§ 325D.49 ET SEQ. & 325D.57 ET SEQ.)
                             (On Behalf of the State Law Class)

       418.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       419.    The Minnesota Antitrust Law of 1971 prohibits “any contract, combination or

conspiracy when any part thereof was created, formed, or entered into in [Minnesota]; and any

contract, combination or conspiracy, wherever created, formed or entered into . . . whenever any

of the forgoing affects the trade or commerce of [Minnesota].” MINN. STAT. § 325D.54.

       420.    Plaintiffs and Class Members purchased Defendants’ plastics the State of

Minnesota during the Class Period. But for Defendants’ conduct set forth, the price of plastics

would have been lower, in an amount to be determined at trial.

       421.    Under the Minnesota Antitrust Act of 1971, indirect purchasers have standing to

maintain an action based on the facts alleged in this Complaint. MINN. STAT. § 325D.57.

       422.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Minnesota and are entitled to all forms of relief, including actual damages, treble damages, costs

and disbursements, reasonable attorneys’ fees, and injunctive relief necessary to prevent and

restrain violations hereof.

                                    COUNT 31
               VIOLATION OF THE MISSISSIPPI ANTITRUST STATUTE,
                          Miss. Code Ann. § 75-21-1, et seq.
                         (On Behalf of the State Law Class)

       423.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       424.    Title 75 of the Mississippi Code regulates trade, commerce, and investments.

Chapter 21 thereof generally prohibits trusts and combines in restraint or hindrance of trade, with

the aim that “trusts and combines may be suppressed, and the benefits arising from competition in

business [are] preserved” to Mississippians. MISS. CODE ANN. § 75-21-39.


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       425.    “A trust or combine is a combination, contract, understanding or agreement,

express or implied . . . when inimical to the public welfare” and with the effect of, among other

things, restraining trade, increasing the price or output of a commodity, or hindering competition

in the production or sale of a commodity. MISS. CODE ANN. § 75-21-1.

       426.    Plaintiffs and Class Members purchased plastics within the State of Mississippi

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       427.    Under Mississippi law, indirect purchasers have standing to maintain an action

under the antitrust provisions of the Mississippi Code based on the facts alleged in this Complaint.

MISS. CODE ANN. § 75-21-9.

       428.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Mississippi and are entitled to all forms of relief, including actual damages and a penalty of $500

per instance of injury.

                                      COUNT 32
                     VIOLATION OF THE NEBRASKA JUNKIN ACT,
                           (NEB. REV. STAT. § 59-801, ET SEQ.)
                           (On Behalf of the State Law Class)

       429.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       430.    Chapter 59 of the Nebraska Revised Statutes generally governs business and trade

practices. Sections 801 through 831 thereof, known as the Junkin Act, prohibit antitrust violations

such as restraints of trade and monopolization.

       431.    Plaintiffs and Class Members purchased plastics within the State of Nebraska

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.




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       432.    Under Nebraska law, indirect purchasers have standing to maintain an action under

the Junkin Act based on the facts alleged in this Complaint. NEB. REV. STAT. § 59-821.

       433.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Nebraska and are entitled to all forms of relief, including actual damages or liquidated damages in

an amount which bears a reasonable relation to the actual damages which have been sustained, as

well as reasonable attorneys’ fees, costs, and injunctive relief.

                                  COUNT 33
          VIOLATION OF THE NEVADA UNFAIR TRADE PRACTICES ACT,
                      (NEV. REV. STAT. § 598A.010, ET SEQ.)
                       (On Behalf of the State Law Class)

       434.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       435.    The Nevada Unfair Trade Practices Act (“NUTPA”) states that “free, open and

competitive production and sale of commodities and services is necessary to the economic well-

being of the citizens of the State of Nevada.” NEV. REV. STAT. ANN. § 598A.030(1).

       436.    The policy of NUTPA is to “[p]rohibit acts in restraint of trade or commerce,”

“[p]reserve and protect the free, open and competitive market,” and “[p]enalize all persons

engaged in [] anticompetitive practices.” Nev. Rev. Stat. Ann. § 598A.030(2). Such acts include,

among other things, price fixing, division of markets, allocation of customers, and monopolization

of trade. See NEV. REV. STAT. ANN. § 598A.060.

       437.    Plaintiffs and Class Members purchased plastics within the State of Nevada during

the Class Period. But for Defendants’ conduct set forth, the price of plastics would have been

lower, in an amount to be determined at trial.

       438.    Under Nevada law, indirect purchasers have standing to maintain an action under

NUTPA based on the facts alleged in this Complaint. NEV. REV. STAT. ANN. § 598A.210(2).




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        439.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Nevada in that at least thousands of sales of plastics took place in Nevada, purchased by Nevada

consumers at supra-competitive prices caused by Defendants’ conduct.

        440.    Accordingly, Plaintiffs and Class Members are entitled to all forms of relief,

including actual damages, treble damages, reasonable attorneys’ fees, costs, and injunctive relief.

                                      COUNT 34
               VIOLATION OF NEW HAMPSHIRE’S ANTITRUST STATUTE,
                    (N.H. REV. STAT. ANN. TIT. XXXI, § 356:1, ET SEQ.)
                           (On Behalf of the State Law Class)

        441.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        442.    Title XXXI of the New Hampshire Statutes generally governs trade and commerce.

        443.    Chapter 356 thereof governs combinations and monopolies and prohibits restraints

of trade. See N.H. REV. STAT. ANN. tit. XXXI, §§ 356:2, 3.

        444.    Plaintiffs and Class Members purchased Defendants’ plastics within the State of

New Hampshire during the Class Period. But for Defendants’ conduct set forth, the price of

Defendants’ plastics would have been lower, in an amount to be determined at trial.

        445.    Under New Hampshire law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. N.H. REV. STAT. ANN. § 356:11(II). Defendants

established, maintained or attempted to, constituting a contract, combination or conspiracy in

restraint of trade in violation of in violation of N.H. REV. STAT. ANN. § 356:1, et seq.

        446.    Plaintiffs and Class Members were injured with respect to purchases of Defendants’

plastics in New Hampshire and are entitled to all forms of relief, including actual damages

sustained, treble damages for willful or flagrant violations, reasonable attorneys’ fees, costs, and

injunctive relief.




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                                    COUNT 35
                 VIOLATION OF THE NEW MEXICO ANTITRUST ACT,
                         (N.M. STAT. ANN. § 57-1-1, ET SEQ.)
                         (On Behalf of the State Law Class)

       447.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       448.    The New Mexico Antitrust Act aims to “prohibit[] restraints of trade and

monopolistic practices.” N.M. STAT. ANN. § 57-1-15.

       449.    Plaintiffs and Class Members purchased plastics within the State of New Mexico

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       450.    Under New Mexico law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. See N.M. STAT. ANN. § 57-1-3(A).

       451.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

New Mexico and are entitled to all forms of relief, including actual damages, treble damages,

reasonable attorneys’ fees, costs, and injunctive relief.

                                COUNT 36
  VIOLATION OF SECTION 340 OF THE NEW YORK GENERAL BUSINESS LAW,
                    (N.Y. GEN. BUS. LAW § 340, ET SEQ.)
                     (On Behalf of the State Law Class)

       452.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       453.    Section 340 of Article 22 of the New York General Business Law prohibits

monopolies and contracts or agreements in restraint of trade, with the policy of encouraging

competition or the free exercise of any activity in the conduct of any business, trade or commerce

in New York. See N.Y. GEN. BUS. LAW § 340(1).

       454.    Plaintiffs and Class Members purchased plastics within the State of New York

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.


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          455.   Under New York law, indirect purchasers have standing to maintain an action based

on the facts alleged in this Complaint. See N.Y. GEN. BUS. LAW § 340(6).

          456.   Plaintiffs and Class Members were injured with respect to purchases of plastics in

New York and are entitled to all forms of relief, including actual damages, treble damages, costs

not exceeding $10,000, and reasonable attorneys’ fees and all relief available under N.Y. GEN.

BUS. LAW §349, et seq.

                                       COUNT 37
                    VIOLATION OF THE NORTH CAROLINA GENERAL
                        STATUTES, (N.C. GEN. STAT. § 75-1, ET SEQ.)
                            (On Behalf of the State Law Class)

          457.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

          458.   Chapter 75 of the North Carolina Statutes generally governs unlawful business

practices, including antitrust violations such as restraints of trade and monopolization.

          459.   Under North Carolina law, indirect purchasers have standing to maintain an action

based on the facts alleged in this Complaint. See Hyde v. Abbott Labs., Inc., 123 N.C. App. 572,

584 (1996).

          460.   Defendants’ unlawful conduct substantially affected North Carolina’s trade and

commerce.

          461.   As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

the Class Members have been injured in their business or property and are threatened with further

injury.

          462.   Because of the foregoing, Plaintiffs and Class Members are entitled to seek all

forms of relief available, including treble damages, under N.C. GEN. STAT. § 75-1, et seq.




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                               COUNT 38
 VIOLATION OF THE NORTH DAKOTA UNIFORM STATE ANTITRUST ACT, N.D.
                    (CENT. CODE § 51-08.1-01, ET SEQ.)
                    (On Behalf of the State Law Class)

       463.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       464.    The North Dakota Uniform State Antitrust Act generally prohibits restraints on or

monopolization of trade. See N.D. CENT. CODE § 51-08.1-01, et seq.

       465.    Plaintiffs and Class Members purchased plastics within the State of North Dakota

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       466.    Under the North Dakota Uniform State Antitrust Act, indirect purchasers have

standing to maintain an action based on the facts alleged in this Complaint. N.D. CENT. CODE § 51-

08.1-08.

       467.    Defendants’ violations of North Dakota law were flagrant.

       468.    Defendants’ unlawful conduct substantially affected North Dakota’s trade and

commerce.

       469.    As a direct and proximate cause of Defendants’ unlawful conduct, Plaintiffs and

Class Members were injured with respect to purchases in North Dakota and are threatened with

further injury, and are entitled to all forms of relief, including actual damages, treble damages for

flagrant violations, costs, reasonable attorneys’ fees, and injunctive or other equitable relief

available under N.D. CENT. CODE § 51-08.1-01, et seq.

                                      COUNT 39
                    VIOLATION OF THE OREGON ANTITRUST LAW,
                           (OR. REV. STAT. § 646.705, ET SEQ.)
                           (On Behalf of the State Law Class)

       470.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.




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        471.    Chapter 646 of the Oregon Revised Statutes generally governs business and trade

practices within Oregon. Sections 705 through 880 thereof govern antitrust violations, with the

policy to “encourage free and open competition in the interest of the general welfare and economy

of the state.” OR. REV. STAT. § 646.715(1).

        472.    Plaintiffs and Class Members purchased plastics within the State of Oregon during

the Class Period. But for Defendants’ conduct set forth, the price of plastics would have been

lower, in an amount to be determined at trial.

        473.    Under Oregon law, indirect purchasers have standing under the antitrust provisions

of the Oregon Revised Statutes to maintain an action based on the facts alleged in this Complaint.

OR. REV. STAT. § 646.780(1)(a).

        474.    Plaintiffs and Class Members were injured with respect to purchases of plastics

within the intrastate commerce of Oregon, or alternatively to interstate commerce involving actual

or threatened injury to persons located in Oregon, and are entitled to all forms of relief, including

actual damages, treble damages, reasonable attorneys’ fees, expert witness fees and investigative

costs, and injunctive relief.

                                     COUNT 40
                VIOLATION OF THE RHODE ISLAND ANTITRUST ACT,
                         (6 R.I. GEN. LAWS § 6-36-1, ET SEQ.)
                         (On Behalf of the State Law Class)

        475.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        476.    The Rhode Island Antitrust Act aims “[t]o promote the unhampered growth of

commerce and industry throughout [Rhode Island] by prohibiting unreasonable restraints of trade

and monopolistic practices” that hamper, prevent or decrease competition. 6 R.I. GEN. LAWS § 6-

36-2(a)(2).




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       477.     Plaintiffs and Class Members purchased plastics within the State of Rhode Island

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       478.     Under the Rhode Island Antitrust Act, indirect purchasers have standing to maintain

an action based on the facts alleged in this Complaint. R.I. GEN. LAWS § 6-36-11(a).

       479.     Plaintiffs and Class Members were injured with respect to purchases of plastics in

Rhode Island and are entitled to all forms of relief, including actual damages, treble damages,

reasonable costs, reasonable attorneys’ fees, and injunctive relief.

                                      COUNT 41
              VIOLATION OF THE SOUTH DAKOTA ANTITRUST STATUTE,
                        (S.D. CODIFIED LAWS § 37-1-3.1, ET SEQ.)
                           (On Behalf of the State Law Class)

       480.     Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       481.     Chapter 37-1 of the South Dakota Codified Laws prohibits restraint of trade,

monopolies, and discriminatory trade practices. S.D. CODIFIED LAWS §§ 37-1-3.1, 3.2.

       482.     Plaintiffs and Class Members purchased plastics within the State of South Dakota

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       483.     Under South Dakota law, indirect purchasers have standing under the antitrust

provisions of the South Dakota Codified Laws to maintain an action based on the facts alleged in

this Complaint. See S.D. CODIFIED LAWS § 37-1-33.

       484.     Plaintiffs and Class Members were injured with respect to purchases of plastics in

South Dakota and are entitled to all forms of relief, including actual damages, treble damages,

taxable costs, reasonable attorneys’ fees, and injunctive or other equitable relief.




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                                     COUNT 42
               VIOLATION OF THE TENNESSEE TRADE PRACTICES ACT,
                           (TENN. CODE § 47-25-101, ET SEQ.)
                          (On Behalf of the State Law Class)

        485.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

        486.    The Tennessee Trade Practices Act generally governs commerce and trade in

Tennessee, and it prohibits, among other things, all arrangements, contracts, agreements, or

combinations between persons or corporations made with a view to lessen, or which tend to lessen,

full and free competition in goods in Tennessee. All such arrangements, contracts, agreements, or

combinations between persons or corporations designed, or which tend, to increase the prices of

any such goods, are against public policy, unlawful, and void. See TENN. CODE ANN. § 47-25-101.

        487.    Under Tennessee law, indirect purchasers have standing under the Tennessee Trade

Practice Acts to maintain an action based on the facts alleged in this Complaint. See Freeman

Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512, 520 (Tenn. 2005).

        488.    Defendants competed unfairly and colluded by meeting to restrain output,

artificially increase demand, divide markets, and otherwise restrain trade as set forth, in violation

of TENN. CODE ANN. § 47-25-101, et seq.

        489.    Defendants’ conduct violated the Tennessee Trade Practice Act because it was an

arrangement, contract, agreement, or combination to lessen full and free competition in goods in

Tennessee, and because it tended to increase the prices of goods in Tennessee. Specifically,

Defendant’s combination or conspiracy had the following effects: (1) price competition for plastics

was restrained, suppressed, and eliminated throughout Tennessee; (2) artificially increase the

demand for plastics throughout Tennessee; (3) Plaintiffs and Class Members were deprived of free

and open competition; and (4) Plaintiffs and Class Members paid supracompetitive, artificially

inflated prices for plastics.



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       490.    During the Class Period, Defendants’ illegal conduct had a substantial effect on

Tennessee commerce as plastics refined from Defendants plastics was sold in Tennessee.

       491.    Plaintiffs and Class Members purchased plastics within the State of Tennessee

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       492.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Tennessee and are entitled to all forms of relief available under the law, including return of the

unlawful overcharges that they paid on their purchases, damages, equitable relief, and reasonable

attorneys’ fees.

                                      COUNT 43
                      VIOLATION OF THE UTAH ANTITRUST ACT,
                         (UTAH CODE ANN. § 76-10-3101, ET SEQ.)
                           (On Behalf of the State Law Class)

       493.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       494.    The Utah Antitrust Act aims to “encourage free and open competition in the interest

of the general welfare and economy of this state by prohibiting monopolistic and unfair trade

practices, combinations and conspiracies in restraint of trade or commerce.” UTAH CODE ANN. §

76-10-3102.

       495.    Plaintiffs and Class Members purchased plastics within the State of Utah during the

Class Period. But for Defendants’ conduct set forth, the price of plastics would have been lower,

in an amount to be determined at trial.

       496.    Under the Utah Antitrust Act, indirect purchasers who are either Utah residents or

Utah citizens have standing to maintain an action based on the facts alleged in this Complaint.

UTAH CODE ANN. § 76-10-3109(1)(a).




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       497.    Plaintiffs and Class Members were injured with respect to purchases of plastics in

Utah and are entitled to all forms of relief, including actual damages, treble damages, costs of suit,

reasonable attorneys’ fees, and injunctive relief.

                                    COUNT 44
               VIOLATION OF THE WEST VIRGINIA ANTITRUST ACT,
                          (W. VA. CODE § 47-18-1, ET SEQ.)
                         (On Behalf of the State Law Class)

       498.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       499.    The violations of law set forth above also constitute violations of Section 47-18-1

of the West Virginia Code.

       500.    During the Class Period, Defendants engaged in anticompetitive conduct alleged

above, including a continuing contract, combination or conspiracy in unreasonable restraint of

trade and commerce within the intrastate commerce of West Virginia, in violation of W. VA. CODE

§§ 47-18-3; 47-18-4.

       501.    Plaintiffs and Class Members purchased Defendants’ plastics within the State of

West Virginia during the Class Period. But for Defendant’s conduct set forth, the price of

Defendants’ plastics would have been lower, in an amount to be determined at trial.

       502.    Under West Virginia law, indirect purchasers have standing to maintain an action

under the West Virginia Antitrust Act based on the facts alleged in this Complaint. W. VA. CODE

St. R. 142-9-2 (“Any person who is injured directly or indirectly by reason of a violation of the

West Virginia Antitrust Act, W. Va. Code § 47-18-1, et seq., may bring an action for damages

under W. Va. Code § 47-18-9.”).

       503.    Defendants’ anticompetitive acts described above were knowing, willful and

constitute violations or flagrant violations of the West Virginia Antitrust Act.




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       504.     As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs and

Class Members have been injured in their business and property in that they paid more for plastics

than they otherwise would have paid absent Defendants’ unlawful conduct.

       505.    As a result of Defendants’ violation of Section 47-18-3 of the West Virginia

Antitrust Act, Plaintiffs and Class Members seek treble damages and their cost of suit, including

reasonable attorneys’ fees, pursuant to Section 47-18-9 of the West Virginia Code.

                                       COUNT 45
                    VIOLATION OF THE WISCONSIN ANTITRUST ACT,
                              (WIS. STAT. § 133.01, ET SEQ.)
                            (On Behalf of the State Law Class)

       506.    Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

       507.    Chapter 133 of the Wisconsin Statutes governs trust and monopolies, with the intent

“to safeguard the public against the creation or perpetuation of monopolies and to foster and

encourage competition by prohibiting unfair and discriminatory business practices which destroy

or hamper competition.” WIS. STAT. § 133.01.

       508.    Plaintiffs and Class Members purchased plastics within the State of Wisconsin

during the Class Period. But for Defendants’ conduct set forth, the price of plastics would have

been lower, in an amount to be determined at trial.

       509.    Under Wisconsin law, indirect purchasers have standing under the antitrust

provisions of the Wisconsin Statutes to maintain an action based on the facts alleged in this

Complaint. See WIS. STAT. § 133.18(1)(a).

       510.    Defendants contracted, combined or conspired in restraint of trade or commerce of

plastics, with the intention of injuring or destroying competition, in violation of WIS. STAT.

§ 133.01, et seq.




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           511.   Plaintiffs and Class Members were injured with respect to purchases of Defendants’

plastics in Wisconsin in that the actions alleged substantially affected the people of Wisconsin,

with at least thousands of consumers in Wisconsin paying substantially higher prices for plastics

in Wisconsin.

           512.   Accordingly, Plaintiffs and Class Members are entitled to all forms of relief,

including actual damages, treble damages, costs and reasonable attorneys’ fees, and injunctive

relief.

                                           COUNT 46
                                      UNJUST ENRICHMENT

           513.   Plaintiffs incorporate each allegation in the preceding paragraphs of this Complaint.

           514.   Through their conduct, Defendants caused damages to Plaintiffs and to Class

Members.

           515.   By misleading the American public into thinking that plastics are completely, or

near completely recyclable, Defendants artificially increased the demand for their plastics. This

deception not only allowed Defendants to avoid plastic bans, but the artificially inflated demand

allowed them to increase the prices of their plastics. By purchasing plastics at an inflated price in

the United States, which Defendants forced them to do, Plaintiffs and the Class Members conferred

a benefit on Defendants in the form of the inflated and unconscionable price of the product.

           516.   Defendants appreciated the benefit because, were consumers not to purchase

plastics, Defendants would have no sales and make no money off Plastic sales in the

aforementioned states.

           517.   Defendants were directly involved in, the deceptive advertising of plastics, setting

the price for plastics, making material misstatements, and directing the sale and distribution of

plastics nationwide in the United States.



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       518.    Plaintiffs and Class Members have conferred upon Defendants an economic

benefit, in the nature of profits resulting from unlawful overcharges and the artificial increase in

the demand of plastics to the economic detriment of Plaintiffs and the Class. Defendants’

acceptance and retention of the benefit is inequitable and unjust because the benefit was obtained

by Defendants unconscionable sales, and unlawful acts.

       519.    Equity cannot in good conscience permit Defendants to be economically enriched

for its unjust actions at Plaintiffs and Class Members’ expense and in violation of state law, and

therefore restitution or disgorgement or both of such economic enrichment is required. It would be

futile for Plaintiffs and the Class to seek a remedy from any party with whom they had privity of

contract. Defendants have paid no consideration to anyone for any benefits received indirectly

from Plaintiffs and the Class.

       520.    Plaintiffs and the members of the Damages Class are entitled to the amount of the

Defendants’ ill-gotten gains resulting from its unlawful, unjust, and inequitable conduct. Plaintiffs

and the members of the Damages Class are entitled to the establishment of a constructive trust

consisting of all ill-gotten gains from which Plaintiffs and the members of the Damages Class may

make claims on a pro rata basis.

                                   DEMAND FOR JURY TRIAL

       Plaintiffs respectfully demand a jury trial.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request the following relief:

       a.      Determine that this action may be maintained as a class action pursuant to Fed. R.
               Civ. P. 23 for each of the Classes; direct that reasonable notice of this action, as
               provided by Fed. R. Civ. P. 23(c)(2) be given to the Classes; and declare that
               Plaintiffs are the representatives of the Classes;

       b.      Require Defendants to pay for sending notice to the certified Classes as required
               by relevant states’ law;


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 c.   Appoint Plaintiffs as Class Representatives and Plaintiffs’ counsel as Class
      Counsel;

 d.   Issue an injunction under 15 U.S.C. § 26 to enjoin Defendants from engaging in the
      deceptive, unfair, unconscionable, and unlawful business practices alleged in this
      First Amended Class Action Complaint;

 e.   Issue an injunction under 15 U.S.C. § 26 to enjoin Defendants from engaging in
      anticompetitive conduct in the plastics market;

 f.   Find that Defendants have caused a public nuisance by their conduct which has
      injured the Plaintiffs;

 g.   Provide abatement, remediation, and cleanup of this public nuisance at the Court’s
      direction;

 h.   Award compensatory damages to Plaintiffs and the proposed Classes in an amount
      to be established at trial;

 i.   Award treble damages as permitted by law;

 j.   Award pre- and post-judgment interest;

 k.   Award punitive damages based on Defendants’ reprehensible and deliberate
      conduct;

 l.   Award reasonable attorneys’ fees and costs; and

 m.   For all such other and further relief as may be just and proper.




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Dated: January 17, 2025.                Respectfully submitted,

                                        /s/ Rex A. Sharp
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                                        --and--

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                                        and the Proposed Class




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                                CERTIFICATE OF SERVICE

       I hereby certify that, on January 17, 2025, I caused to be electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notice of electronic filing to

all counsel of record.


                                                     /s/ Rex A. Sharp
                                                     Rex A. Sharp




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